Case 2:17-cv-02022-JWL-JPO Document 1-1 Filed 12/20/16 Page 1 of 103




                       Exhibit 1
      Case 2:17-cv-02022-JWL-JPO Document 1-1 Filed 12/20/16 Page 2 of 103
                                                                     FILED
                                                                     11-17-2016
                                                                     Walworth County
                                                                     Clerk of Circuit Court
                                                                     2016CV000790
                                                                     Honorable David M. Reddy
                                                                     Branch 4




STATE OF WISCONSIN              CIRCUIT COURT          WALWORTH COUNTY

Gabriel Hammerstrom
470 Oakwood Lane
Lake Geneva, WI 53147,

           Plaintiff,
                                          SUMMONS
vs.
                                          Case No. _______________________
Syngenta AG
Schwarzwaldallee 215
4058 Basel-Stadt
Switzerland

Syngenta Crop Protection AG
Schwarzwaldallee 215
4058 Basel-Stadt
Switzerland

Syngenta Corporation
3411 Silverside Road, #100
Wilmington, DE 19810-4812
Registered Agent:
The Corporation Trust Company
Corporation Trust Center
1209 Orange Street
Wilmington, DE 19801

Syngenta Crop Protection, LLC
410 South Swing Road
Greensboro, NC 27409-2012
Registered Agent:
The Corporation Trust Company
Corporation Trust Center
1209 Orange Street
Wilmington, DE 19801




509986.1
      Case 2:17-cv-02022-JWL-JPO Document 1-1 Filed 12/20/16 Page 3 of 103




Syngenta Seeds, LLC
11055 Wayzata Blvd.
Minnetonka, MN 55305-1526
Registered Agent:
The Corporation Trust Company
Corporation Trust Center
1209 Orange Street
Wilmington, DE 19801

           Defendants.


                                               SUMMONS



THE STATE OF WISCONSIN

TO EACH PERSON NAMED ABOVE AS A DEFENDANT

           YOU ARE HEREBY NOTIFIED that the Plaintiff named above has filed a lawsuit or

other legal action against you. The complaint, which is attached, states the nature and basis of the

legal action.

           Within 45 days of receiving this Summons, you must respond with a written answer, as

that term is used in Chapter 802 of the Wisconsin Statutes, to the Complaint. The Court may

reject or disregard an answer that does not follow the requirements of the statutes. The answer

must be sent or delivered to the Court, whose address is Walworth County Judicial Center, 1800

County Road NN, Elkhorn, Wisconsin 53121. You may have an attorney help or represent you.

           If you do not provide a proper answer within 45 days, the Court may grant judgment

against you for the award of money or other legal action requested in the Complaint, and you

may lose your right to object to anything that is or may be incorrect in the Complaint. A

judgment may be enforced as provided by law. A judgment awarding money may become a lien




509986.1                                         2
      Case 2:17-cv-02022-JWL-JPO Document 1-1 Filed 12/20/16 Page 4 of 103




against any real estate you own now or in the future, and may also be enforced by garnishment or

seizure of property.


Dated: November 17, 2016                  Respectfully submitted,

                                          LOCKRIDGE GRINDAL NAUEN P.L.L.P.

                                          Electronically signed by Charles N. Nauen
                                          Charles N. Nauen, #1031943
                                          Robert K. Shelquist
                                          100 Washington Avenue South, Suite 2200
                                          Minneapolis MN 55401
                                          Phone: 612-339-6900
                                          Fax:    612-339-0981

                                          Counsel for Plaintiff




509986.1                                       3
      Case 2:17-cv-02022-JWL-JPO Document 1-1 Filed 12/20/16 Page 5 of 103
                                                                     FILED
                                                                     11-17-2016
                                                                     Walworth County
                                                                     Clerk of Circuit Court
                                                                     2016CV000790
                                                                     Honorable David M. Reddy
                                                                     Branch 4




STATE OF WISCONSIN              CIRCUIT COURT          WALWORTH COUNTY

Gabriel Hammerstrom
470 Oakwood Lane                          COMPLAINT
Lake Geneva, WI 53147,                    JURY TRIAL DEMANDED

           Plaintiff,
                                          Case No. ____________________
vs.

Syngenta AG
Schwarzwaldallee 215
4058 Basel-Stadt
Switzerland

Syngenta Crop Protection AG
Schwarzwaldallee 215
4058 Basel-Stadt
Switzerland

Syngenta Corporation
3411 Silverside Road, #100
Wilmington, DE 19810-4812
Registered Agent:
The Corporation Trust Company
Corporation Trust Center
1209 Orange Street
Wilmington, DE 19801

Syngenta Crop Protection, LLC
410 South Swing Road
Greensboro, NC 27409-2012
Registered Agent:
The Corporation Trust Company
Corporation Trust Center
1209 Orange Street
Wilmington, DE 19801




509985.1
      Case 2:17-cv-02022-JWL-JPO Document 1-1 Filed 12/20/16 Page 6 of 103




Syngenta Seeds, LLC
11055 Wayzata Blvd.
Minnetonka, MN 55305-1526
Registered Agent:
The Corporation Trust Company
Corporation Trust Center
1209 Orange Street
Wilmington, DE 19801

           Defendants.


                                 PLAINTIFF’S ORIGINAL COMPLAINT

           Plaintiff Gabriel Hammerstrom brings this action individually and on behalf of all others

similarly situated against Syngenta AG (“Syngenta AG”), Syngenta Crop Protection AG (“Crop

Protection AG”), Syngenta Corporation (“Syngenta Corp”), Syngenta Crop Protection, LLC

(“Crop Protection LLC”), and Syngenta Seeds, LLC (“Syngenta Seeds”) (Syngenta AG, Crop

Protection AG, Syngenta Corp, Crop Protection LLC, and Syngenta Seeds are sometimes

hereinafter collectively referred to as either “Defendants” or “Syngenta”) and states as follows:

                                    NATURE OF THE ACTION

           1.     Biotechnology holds promise to potentially improve the lives of many. But it also

can cause extraordinary harm if handled irresponsibly.

           2.     Part of acting responsibly requires that biotechnology companies avoid

introducing a new genetic trait into the market prematurely before it has been approved in all

significant export markets. All in the industry, including Syngenta, recognize that premature

commercialization can cause significant trade disruptions and enormous harm to farmers and

other industry participants.      That is why they have pledged to each other and to other

stakeholders, including corn farmers, that they will act responsibly in introducing new bio-

engineered genetic traits into the market.




509985.1                                           2
      Case 2:17-cv-02022-JWL-JPO Document 1-1 Filed 12/20/16 Page 7 of 103




           3.   Syngenta had the opportunity to act responsibly in 2010. Its new genetically

modified corn Agrisure Viptera®, containing the MIR162 genetic trait, had just been deregulated

by the United States Department of Agriculture (“USDA”). But Syngenta was aware that a large

and growing export market for U.S. corn farmers, China, had not approved MIR162. In fact,

Syngenta had only that same year sought regulatory approval in China, and at the time, the

average time for regulatory approval in China was 2-3 years. The process is longer if

applications are incomplete or incorrect. And Syngenta’s were. Syngenta had been previously

warned by industry participants not to introduce another MIR genetic trait because of lack of

approval in export markets, and the devastating consequences that could occur from such

premature commercialization.

           4.   But Syngenta also knew that the clock was ticking on expiration of its patent for

this genetic trait. Every year that passed without commercialization meant lost monopoly profits

granted by patent.

           5.   Syngenta had a decision to make. It could wait until China approved its new

genetic trait and temporarily forego its monopoly profits. That is what it had pledged to do, and

what responsible practice in any event dictated. Or, Syngenta could immediately commercialize

Agrisure Viptera®, and create an enormous risk that U.S. corn farmers would lose one of their

large and growing export markets.

           6.   Sadly, Syngenta opted for its monopoly profits over responsibility to its

stakeholders. It chose to commercialize Viptera® for the 2011 crop year knowing that China

would not approve MIR162 until sometime after that trait had entered export channels.

           7.   During 2011 - 2013, Syngenta was called upon again by industry participants to

show responsibility and stop its overly aggressive commercialization. China’s importance as a




509985.1                                        3
      Case 2:17-cv-02022-JWL-JPO Document 1-1 Filed 12/20/16 Page 8 of 103




purchaser of U.S. corn had continued to grow and it still had not approved MIR162. Syngenta’s

response was to expand sales for the 2012 and 2013 growing seasons, and capture more

monopoly profits.

           8.    In November 2013, the very occurrence that had been foreseen by industry

participants, including Syngenta, occurred. U.S. exports to China were found to be contaminated

with MIR162, which still had not been approved by China. China therefore began rejecting

shipments of corn from the U.S.

           9.    After rejection of U.S. corn shipments, industry participants in early 2014

demanded that Syngenta immediately halt commercialization of Agrisure Viptera®. They also

demanded that Syngenta not commercialize a brand new product, Agrisure Duracade™, which

also contained MIR162 and a new event, not approved by China and other export markets –

Event 5307. The industry participants pointed out that they were “gravely concerned about the

serious economic harm” to those in the industry, including farmers, caused by the loss of the

Chinese market. At that time, the National Grain and Feed Association quantified the economic

harm as already ranging from $1 billion to $2.9 billion.

           10.   Syngenta doubled down. It continued to sell Agrisure Viptera®, and launched

Agrisure Duracade™ for the 2014 crop year, thereby prolonging the economic harm indefinitely.

Those irresponsible actions also ensured that the economic losses to farmers and others in the

industry would continue to grow.

           11.   These events show corporate greed at its worst. But there is more. To attempt to

minimize the perceived impact of its conduct, Syngenta actively misled farmers, industry

participants and others about the importance of the Chinese market, the timing and substance of

its application for approval in China, the timing of when China was likely to approve MIR162,




509985.1                                         4
      Case 2:17-cv-02022-JWL-JPO Document 1-1 Filed 12/20/16 Page 9 of 103




its ability to “channel” Viptera® to non-Chinese markets and otherwise contain the infiltration of

Viptera® into the U.S. corn supply and other issues described below. In fact, even though it

represented to the USDA and the public that “there should be no effects on the U.S. maize export

market” from deregulation and that it would impose stewardship and channeling requirements to

steer Viptera® corn away from export markets that had not approved it, Syngenta did not follow

through in any meaningful way on this commitment. Just the opposite. When one company –

Bunge North America, Inc. (“Bunge”) – tried to minimize the risk that Viptera® would be found

in shipments to China by refusing to accept it, Syngenta sued Bunge in an effort to force it to

accept Viptera®. Syngenta was far more concerned about the impact on its business than it was

about the loss of an important export market for corn farmers.

           12.   Under the basic laws of supply and demand, when there is less demand for a

product, the price is lower than it otherwise would be. China was a large and growing export

market, and was predicted by the USDA to be the largest export market for corn by 2020. The

loss of that market has caused enormous economic harm to U.S. corn farmers, and that harm is

continuing to grow. While China finally approved MIR162 in December 2014, it has not

approved Event 5307. U.S. corn exports to China have not yet begun to recover, and it remains

to be seen whether they will ever regain the levels they would have attained but for the embargo.

           13.   Through this complaint, U.S. corn farmers seek compensation for losses they have

suffered as a result of Syngenta’s irresponsible conduct, and punitive damages for Syngenta’s

reprehensible and outrageous behavior.




509985.1                                         5
     Case 2:17-cv-02022-JWL-JPO Document 1-1 Filed 12/20/16 Page 10 of 103




                                  JURISDICTION AND VENUE

           14.   This Court has subject matter jurisdiction over this case article VII, Section 8 of

the Wisconsin Constitution.       Defendants are subject to personal jurisdiction in Wisconsin

pursuant to Wis. Stat. § 801.05 because Defendants have marketed, sold, or otherwise

disseminated, and continue to market, sell, solicit or otherwise disseminate, Viptera® and

Duracade™ corn in the State through the ordinary course of trade that caused injury to Plaintiff

and other members of the Classes defined below.               Defendants’ seeds have been used or

consumed in Wisconsin in the ordinary course of trade. Additionally, Defendants are engaged in

substantial and not isolated activities within the state.

           15.   Venue is proper in Walworth County, Wisconsin pursuant to Wis. Stat.

801.50(2)(a)&(b) because Plaintiff’s claims arose in that county and part or all of Plaintiffs’ real

property that is the subject of the claim is located there.

                                              PARTIES

Plaintiff

           16.   Gabriel Hammerstrom is a citizen of Wisconsin and farms in Walworth and

Kenosha County, Wisconsin. Plaintiff planted approximately 700 acres of corn in 2013 and

approximately 700 acres of corn in 2014.

Defendants

           17.   Syngenta AG is a corporation organized and existing under the laws of

Switzerland with its principal place of business at Schwarzwaldallee 215, 4058 Basel-Stadt,

Switzerland. Syngenta AG is a publicly traded company on the Swiss stock exchange. American

Depositary Receipts for Syngenta AG are traded on the New York Stock Exchange. Syngenta

AG was formed in 2000 as a result of the merger of Novartis Agribusiness and Zeneca




509985.1                                           6
     Case 2:17-cv-02022-JWL-JPO Document 1-1 Filed 12/20/16 Page 11 of 103




Agrochemicals and is the only publicly traded company among the various Syngenta entities

named as defendants in this case. Service of process on Syngenta AG will be made in

accordance with applicable law.

           18.    Crop Protection AG is a corporation organized and existing under the laws of

Switzerland with its principal place of business at Schwarzwaldallee 215, 4058 Basel-Stadt,

Switzerland. Service of process on Crop Protection AG will be made in accordance with

applicable law.

           19.   Syngenta Corp. is a corporation organized and existing under the laws of the State

of Delaware with its principal place of business located at 3411 Silverside Road # 100,

Wilmington, Delaware 19810-4812. Syngenta Corp is a subsidiary of Syngenta AG. Syngenta

Corp. will be served with process in accordance with applicable law.

           20.   Crop Protection, LLC, is a limited liability company organized and operating

under the laws of the State of Delaware with its principal place of business at 410 South Swing

Road, Greensboro, North Carolina 27409-2012. Crop Protection, LLC, is a subsidiary of

Syngenta Seeds.       Crop Protection, LLC will be served with process in accordance with

applicable law.

           21.   Syngenta Seeds, formerly a Delaware corporation with a principal place of

business at 11055 Wayzata Boulevard, Minnetonka, Minnesota 55305-1526, is now a Delaware

limited liability company with Syngenta Corp. as its sole member. Syngenta Seeds is a direct

subsidiary of Syngenta Corp. Syngenta Seeds will be served in accordance with applicable law.

Syngenta Seeds has described itself in its Complaint filed in Syngenta Seeds, Inc. v. Bunge North

America, Inc., No. 5:11-cv-04074-MWB, United States District Court, Northern District of Iowa

(“Bunge” or “Syngenta v. Bunge”), as




509985.1                                         7
     Case 2:17-cv-02022-JWL-JPO Document 1-1 Filed 12/20/16 Page 12 of 103




                 a leading agribusiness company committed to sustainable
                 agriculture through research and technology. Syngenta is, among
                 other things, in the commercial seed business. It develops,
                 produces, and sells, through dealers and distributors or directly to
                 growers, a wide range of agricultural products, including corn
                 and soybean seed exhibiting useful traits that have been
                 developed with the techniques of modern biotechnology. The
                 seed products are then grown and harvested as raw materials for
                 the production of biofuels or grain for livestock feed; or are
                 milled and processed for food products.

Among Syngenta Seeds’ products which it has sold in the State of Wisconsin and elsewhere are

the Agrisure Viptera® and Agrisure Duracade™ corn seeds. These seeds express, or contain,

genetically engineered traits which confer resistance to insects.

           22.   Syngenta AG wholly owns, directly or indirectly, each of Crop Protection AG,

Syngenta Corp., Crop Protection LLC, and Syngenta Seeds.

           23.   Syngenta AG represents itself as a global company. According to Syngenta’s

own website, Syngenta AG’s Board of Directors “has full and effective control of the company

and holds ultimate responsibility for the company strategy.”

           24.   One or more members of Syngenta AG’s Board of Directors or the Executive

Committee established by the Board of Directors also serve as member(s) of the Board of

Directors of Crop Protection AG, Syngenta Corp., Crop Protection LLC, and/or Syngenta Seeds.

           25.   Furthermore, Syngenta AG’s Executive Committee formulates and coordinates

the global strategy for Syngenta businesses, and maintains central corporate policies requiring

Syngenta subsidiaries, including those named as Defendants herein, under the general guidance

of the Syngenta group control.

           26.   Employees of the Syngenta group as a whole maintain reporting relationships that

are not defined by legal, corporate relationships, but in fact cross those corporate lines. For




509985.1                                          8
     Case 2:17-cv-02022-JWL-JPO Document 1-1 Filed 12/20/16 Page 13 of 103




example, Crop Protection AG maintains two separate product lines – Seeds and Crop Protection

– that cross the Defendants’ separate legal, corporate existences.

           27.   The Defendant subsidiaries are subject to additional oversight that requires them

to seek approval for certain decisions from higher levels within the functional reporting structure

– including in some instances Syngenta AG. Appointments of senior management personnel for

the Defendant subsidiaries also may require, in certain instances, approval from individuals or

governing bodies that are higher than each subsidiary’s respective board of directors.

           28.   Moreover, Syngenta AG and Syngenta Crop Protection AG management were

intimately involved in, and in some instances directed, decisions concerning the

commercialization of Viptera® without Chinese approval.

           29.   Also, Syngenta AG maintains a central global finance function that governs all

Defendants. Thus, the Defendant subsidiaries do not function independently but under the

Syngenta AG umbrella.

           30.   In addition, Defendants regularly refer to themselves as “Syngenta,” with no

further description.

           31.   Thus, the respective jurisdictional contacts of Crop Protection AG, Syngenta

Corp., Crop Protection LLC, and Syngenta Seeds in Wisconsin are attributable to Syngenta AG

because of the unusually high degree of control Syngenta AG exercises over these

subsidiaries. See, e.g., City of Greenville v. Syngenta Crop Protection, Inc. et al., 830 F. Supp.

2d 550 (S.D. Ill. 2011).

           32.   In addition, upon information and belief, the Defendants acted in concert pursuant

to agreements or other arrangements to act in a collective manner and/or as joint venturers

regarding the actions and events made the subject of this Class Action Complaint. All




509985.1                                         9
     Case 2:17-cv-02022-JWL-JPO Document 1-1 Filed 12/20/16 Page 14 of 103




Defendants are therefore jointly and severally liable for the acts for which Plaintiff makes

complaint.

                                  FACTUAL ALLEGATIONS

           33.   Biotechnology firms such as Syngenta develop and obtain patents on their bio-

engineered products. A patent gives the biotechnology firm the exclusive right to sell its bio-

engineered products; however, those patents eventually expire. Biotechnology firms have an

economic incentive to “commercialize” (i.e. bring their products to market for planting and

harvest) as soon as possible after filing a patent application in order to maximize profitability.

           34.   According to Grant Ozipko, the goal set by senior leadership (including Charles

Lee, David Morgan, Steve Ligen and/or Diane Mayhart), was to achieve 9.5% market share for

MIR162 by 2014. See Grant Ozipko Deposition (10/19/12) (Bunge) at 72-73. Syngenta was

concerned with “commercialization as soon as possible.”               See MIR162H-I Stage gate

progression review dated December 16, 2009.

           35.   But premature commercialization poses a well-known and significant risk of harm

to farmers if bio-engineered commodity products are commercialized before they are approved

by major importing nations. Certain importing nations, such as China, have a “zero tolerance”

policy and will reject grain imports from the U.S. upon detecting the presence of even trace

amounts of an unapproved bio-engineered genetic trait in U.S. grain shipments. This was well

known by participants in the biotechnology industry, including Syngenta, before, but at least by,

2007.

           36.   Syngenta commercialized MIR162 – and Event 5307 – despite clear risk of harm

to its stakeholders, including Plaintiff and the Classes in this action, Syngenta’s knowledge of

that risk, and Syngenta’s own professed commitment to responsible management.




509985.1                                         10
     Case 2:17-cv-02022-JWL-JPO Document 1-1 Filed 12/20/16 Page 15 of 103




           37.   Moreover, Syngenta commercialized MIR162 by consistently misrepresenting the

importance and status of China’s approval and without adequate systems in place to isolate or

channel MIR162, virtually assuring that MIR162 would contaminate the U.S. corn supply, as set

out below.

Recognized Risk Of Irresponsible Commercialization

           38.   As recognized within the industry, and by Syngenta, the harm threatened by

irresponsible commercialization is very real.

           39.   “There have been a number of high-profile cases involving genetically modified

varieties . . . and disruption of international shipments of commodity grains such as corn, wheat,

and rice.” http://www.syngentafoundation.org/index.cfm?pageID=703.

           40.   For example, bio-engineered corn contaminated the U.S. corn supply in 2000 and

disrupted international trade, causing loss to farmers and other industry participants. In re

StarLink Corn Products Liability Litigation, 212 F. Supp. 2d 828 (N.D. Ill. 2002).

           41.   In 2006, bio-engineered rice contaminated the U.S. rice supply, again disrupting

trade and causing massive damages to U.S. rice farmers and other industry participants. See,

e.g., In re Genetically Modified Rice Litig., 666 F. Supp. 2d 1004 (E.D. Mo. 2009); Bayer

CropScience LP v. Schafer, 2011 Ark. 518, 385 S.W.3d 822, 832 (Ark. 2011).

           42.   In addition to being aware of these and other well-publicized incidents at the time

it commercialized MIR162, Syngenta had (and has been) continuously warned by stakeholders

about the importance of, and need for, responsible commercialization.

           43.   For example, when Syngenta commercialized MIR604 (Agrisure® RW) in 2007,

the National Grain and Feed Association (“NGFA”) (of which Syngenta is a member) and the

North American Export Grain Association (“NAEGA”) warned against an “‘ill-conceived’ plan




509985.1                                         11
     Case 2:17-cv-02022-JWL-JPO Document 1-1 Filed 12/20/16 Page 16 of 103




to commercialize” Syngenta’s Agrisure biotechnology-enhanced corn as endangering U.S. corn

and corn-product exports since it had not obtained regulatory approval for food and feed use in

Japan and other U.S. export markets. Houin, “Feed and grain organizations warn growers of

limited export markets,” Farm World (4/25/2007).

           44.   The International Grain Trade Coalition also chastised Syngenta, stating that

Syngenta “did not respect the responsibility of importing governments to perform necessary risk

assessments as demanded by their legislation,” that the introduction of Agrisure® RW “was not

done in an open transparent manner,” and that Syngenta “did not complete authorization in major

international    markets   possessing   scientifically   sound   approval   systems   prior   to

commercialization.” Letter from International Grain Trade Coalition to Michael Pragnell, CEO

Syngenta dated April 18, 2007 at 2. The International Grain Trade Coalition further stated that

Syngenta’s conduct “[e]xposed downstream members of the value chain including producers,

handlers, exporters, importers, food processors and distributors to significant liability as

currently all countries employ a zero threshold policy for an event not authorized by the

importing country” and strongly urged Syngenta to “reverse immediately its decision to

commercialize Agrisure RW at this time.” Id.

           45.   The Biotechnology Industry Organization (“BIO”) is the world’s largest

biotechnology trade association, of which, on information and belief, Syngenta is or was a

member. BIO has expressly recognized that “[a]synchronous authorizations combined with

importing countries maintaining ‘zero tolerance’ for recombinant-DNA products not yet

authorized results in the potential for major trade disruptions.” BIO Product Launch Stewardship

Policy, May 21, 2007, at Annex 1 Introduction; see also BIO Product Launch Stewardship,”

December 10, 2009, at Annex 1 Introduction (same); BIO “Stewardship: Actions to be Taken




509985.1                                       12
     Case 2:17-cv-02022-JWL-JPO Document 1-1 Filed 12/20/16 Page 17 of 103




Prior to Launching Special Traits,” October 4, 2010, at Annex 1 Introduction (same); BIO

Product Launch Stewardship: Food and Agriculture Section, November 27, 2012, at Annex 1

Introduction (same).

           46.   As stated in BIO’s “Product Stewardship Policy” dated December 10, 2009:

                 Since the commercial introduction of biotechnology-derived plant
                 products in 1996, an increasing number of biotechnology-derived
                 plant products intended for food or feed use are authorized for
                 commercial production in many countries throughout the world;
                 however, authorizations in importing countries vary depending on
                 the timing of submissions for import authorization as well as the
                 duration of the authorization process in each country. As a
                 consequence of these asynchronous authorizations, low levels of
                 recombinant-DNA plant materials that have completed full safety
                 assessments in accordance with national and international
                 standards in one or more countries may, on occasion, be present in
                 food or feed in countries in which the authorization process of the
                 relevant recombinant-DNA plant material has not been completed.
                 Asynchronous authorizations combined with importing countries
                 maintaining ‘zero tolerance’ for recombinant-DNA products not
                 yet authorized results in the potential for major trade disruptions.

http://www.bio.org/sites/default/files/Product_Launch_Stewarship_12_10_09.pdf.

Recognized Stewardship Obligation

           47.   The risk in premature commercialization is well-recognized within the industry

and as a result, biotechnology organizations, including CropLife International (of which

Syngenta is a member) and BIO, have developed stewardship standards under which bio-

technology firms refrain from commercializing their products before those products are approved

by importing nations.

           48.   The very genesis of BIO’s product launch policy in 2007 was Syngenta’s own

launch of MIR604 without Japanese import approval. See John Bernens Deposition (11/2/12)

(Syngenta Seeds, Inc. v. Bunge North America, Inc., No. 5:11-cv-04074-MWB (N.D. Iowa Aug.

22, 2011)) at 110-113; see also Email from Sarah Hull to Jane Bachmann and Anne Burt dated



509985.1                                         13
     Case 2:17-cv-02022-JWL-JPO Document 1-1 Filed 12/20/16 Page 18 of 103




February 19, 2008 (“While I know we will be ready to sell MIR162 in the US in 2009, it seems

we won’t have the stacks approved in Japan to fully launch the product without managing some

of the trade implications. This is where grain traders were so upset with the [Agrisure] RW

launch. We commercialized without having Japan approval prior to planting. That in turn

spawned the BIO policy.”).

           49.   Syngenta has, since at least 2007, represented that it is “committed to the

principles of good stewardship, which are exemplified through the responsible management of

[its] products across their lifecycle [including] commercialization” and its support for BIO’s

Product Launch Stewardship policies. See Bio Product Launch Policy, Syngenta Implementation

Principles (Nov. 2007) (http://www.syngentabiotech.com/biopolicy.aspx). On information and

belief, Syngenta’s Jeff Cox has expressly indicated Syngenta’s support for this policy and

pledged that “we will implement it with Syngenta.”

           50.   Under the BIO stewardship policy, developers like Syngenta should meet

applicable regulatory requirements in key markets prior to commercialization. See BIO Product

Launch Stewardship, December 10, 2009, at 4.

           51.   Under the BIO policy, developers also should:

                 Conduct a market and trade assessment to identify key import
                 markets, including those with functioning regulatory systems, prior
                 to the commercialization of any new biotechnology product (crop
                 by event) in any country of commercial launch. In that market and
                 trade assessment, consult at an early stage with the value chain for
                 the specific crop. Manage the product’s introductions so that
                 choice of production methods (coexistence) and markets (e.g.,
                 specialty, identity preservation, and global) for that crop are
                 available and preserved. Id. (emphasis added).

           52.   Under the BIO policy in 2009, key markets included “at minimum,” the United

States, Canada, and Japan. Id. (emphasis added).




509985.1                                         14
     Case 2:17-cv-02022-JWL-JPO Document 1-1 Filed 12/20/16 Page 19 of 103




           53.     For purposes of the BIO policy, “commercialization” means the first planting of

seed for the production of a crop or crop product. See BIO Product Launch Stewardship,

December 10, 2009, at 4 n.4. See also Email from Sarah Hull to Jane Bachmann and Anne Burt

dated February 19, 2008 (commercialization is defined in BIO policy as the first planting of seed

sold into commerce for the production of a crop).

           54.     BIO policies are minimum standards of responsible behavior. BIO expressly

states that its policy “does not limit the implementation of additional measures designed to

facilitate adoption and use of [commodity crop] products and to prevent disruption of . . . the

trading of the commodity.” BIO Product Launch Stewardship, December 10, 2009, at 4.

           55.     Another biotechnology industry association, Excellence Through Stewardship,

advocates        similar   standards   through   its    “Product   Launch   Stewardship   Guide.”

http://excellencethroughstewardship.org/wp-content/uploads/Approved-Product-Launch-

Stewardship-Guide-Revised-07-22-10.pdf.          Syngenta is a “founding member” of this program.

www.syngentabiotech.com/biostewardship.aspx.

           56.     Biotechnology industry groups are not alone in recognizing the importance of

stewardship. The National Grain and Feed Association’s Policy on Agriculture Biotechnology

provides:

                   The NGFA supports agricultural biotechnology and other scientific
                   advancements that promote safe and abundant food and feed
                   supply. However, the NGFA believes biotech-enhanced traits
                   should be commercialized only after achieving broad, deep
                   consumer acceptance, as well as authorizations from U.S.
                   export markets, to enable the industry to meet customer
                   preferences and maintain access to global markets. The NGFA
                   advocates prudent policies to guard against the presence of
                   unauthorized or restricted-use biotech-enhanced traits in the
                   general commodity stream.

http://www.ngfa.org/news-policy-center/positions-priorities/ (emphasis added).



509985.1                                           15
     Case 2:17-cv-02022-JWL-JPO Document 1-1 Filed 12/20/16 Page 20 of 103




           57.   The North American Export Grain Association agrees:

                 Biotechnology providers should be required to accept liability to
                 compensate parties for economic damage resulting from a failure
                 to adequately implement and enforce binding risk-management
                 (stewardship) and supply chain management plans deemed
                 sufficient and effective in preventing biotech events from
                 becoming present in the general commodity stream at levels that
                 could disrupt efficient commerce.

                 One of the most important of these commitments is to voluntarily
                 restrict commercialization (marketing of seeds) under corporate
                 stewardship plans until such time as the technology provider has
                 obtained sufficient import authorizations from foreign
                 governments. It is imperative that such import authorizations be in
                 place to provide U.S. grains and oilseeds with competitive, reliable
                 and efficient access to international markets.

                 The reality is that bulk grain and oilseed shipments ‘may contain’ a
                 biotech-enhanced event that has been made available to producers
                 for commercial production. Any biotechnology trait present in
                 such shipments that lacks approval in a country of import will
                 confront an impossible-to-achieve zero tolerance in that country.
                 The consequences of such occurrences are dire, including
                 impeding the ability of importing countries to provide for food
                 security, imperiling present and future market opportunities for
                 U.S. farmers, and unrecoverable and extensive product and
                 shipment-rejection costs to the U.S. production and grain
                 marketing system.

                 These international authorizations need to be in place at the time
                 seed containing the event first is purchased by producers. U.S. corn
                 producers often make their initial seed purchase decisions in the
                 fall prior to spring planting – about the same time as international
                 buyers begin substantial contracting for delivery of the next year’s
                 harvest. Given that such contracts are contingent upon receiving
                 authorizations for all biotech-enhanced events that may be present
                 in the commodity shipment, NAEGA and NGFA believe import
                 authorizations need to be in place at least one year prior to harvest-
                 time deliveries from U.S. farms.

                 However, we recognize that technology providers may find the
                 opportunity for economic reward attractive enough to avoid
                 completing U.S. export market approvals prior to product launch in
                 the United States. In such cases, appropriate restraints and



509985.1                                          16
     Case 2:17-cv-02022-JWL-JPO Document 1-1 Filed 12/20/16 Page 21 of 103




                 responsibility for risks imposed on downstream stakeholders when
                 and after a crop biotechnology event is in production must be part
                 of all technology providers’ product stewardship commitments.
                 Such restraint and risk responsibility is critically important when
                 crop biotechnology is deployed under regulatory systems like the
                 science-based U.S. coordinated regulatory framework, which does
                 not apply an international merchantability or marketability test
                 prior to commercialization of the genetically engineered event.
                 Under no circumstances can or should the grain handling,
                 processing or export industry sectors in the United States or abroad
                 be expected to shoulder the financial risks associated with market
                 disruptions that they have little, if any, ability to control or
                 manage. Rather, the technology providers that do have the ability
                 to control such exposure – and reap the economic reward of
                 commercialization prior to authorization of their products in
                 international markets – must be held responsible. Doing otherwise
                 creates market risk, and undermines the ability of U.S. agriculture
                 to contribute to global food security, as well as to U.S. economic
                 growth and job creation.

http://naega.org/wp-content/uploads/2012/05/NGFA-NAEGA-Joint-Statement-on-Pioneer-

Petition-for-APHIS-Deregulation-of-Pioneer-Hi-Bred-International-Biotech-Maize-.pdf.

           58.   The Syngenta Foundation For Sustainable Agriculture states that “until a country

issues a registration approval for cultivation and/or food and/or feed consumption, there is a clear

responsibility and liability, even if the government scientific assessments show that there are no

safety or environmental concerns,” and recognizes that stewardship, among other things, “works

to prevent trade disruptions.” http://www.syngentafoundation.org/index.cfm?pageID=703.

Syngenta Recognizes Its Stewardship Obligation

           59.   Under the “Corporate Responsibility” section of its website, Syngenta

acknowledges the integrated nature of the commodity market, and its responsibility to

“stakeholders” affected by its business, which include farmers:

                 Our stakeholders are the people who can affect our business or
                 who are affected by it. They include the following groups:

                 Growers



509985.1                                         17
     Case 2:17-cv-02022-JWL-JPO Document 1-1 Filed 12/20/16 Page 22 of 103




                     Industry
                     Non-governmental organizations and international agencies
                     Investors
                     Employees
                     Government

           60.       Syngenta has committed to “respond to feedback from its stakeholders” and “to

implement high standards of stewardship for the safe, effective and environmentally responsible

use of its products.”         http://www.syngenta.com/global/corporate/en/about-syngenta/corporate-

responsibility/Pages/cr-policy-and-commitments.aspx.

           61.       Syngenta represents that “it prioritize[s] the issues that are most relevant to

our business and most important to our stakeholders.”

           62.       Syngenta also represents that it “maintain[s] the highest standards across our

entire business and go[es] beyond regulatory compliance.”

           63.       In Syngenta’s “Code of Conduct,” posted on its website for farmers to read,

Syngenta represents:

                 x   “The trust and confidence of Syngenta’s stakeholders is critical to our

                     continuing success and will only be sustained if the company acts and is

                     seen to act in accordance with the highest standards of ethics and integrity.

                     To ensure we meet the standards which our stakeholders expect, we have

                     produced this new Syngenta Code of Conduct . . . .”

                 x   “We provide innovative, reliable, high-quality products and have

                     safeguards to protect stakeholders.”

                 x   “The creativity of our people provides products which help growers meet

                     the global challenges to agriculture.”




509985.1                                              18
     Case 2:17-cv-02022-JWL-JPO Document 1-1 Filed 12/20/16 Page 23 of 103




                 x   “We will work closely with customers, contractors, users and all other

                     stakeholders to ensure proper and responsible use of our products

                     and understanding of the precautions that apply . . . .”

(emphasis added).

           64.       In November 2007, Syngenta adopted its own “Bio Product Launch Policy.” The

Syngenta Bio Product Launch Policy incorporates BIO’s Product Launch Policy, and required

Syngenta to perform a market and trade assessment to identify key importing nations and obtain

those      nations’     approval   prior   to   commercializing   a   new   bio-engineered   product.

http://www.syngentabiotech.com/biopolicy.aspx.

           65.       On its website, Syngenta also suggests that it complies with the stewardship

standards adopted by CropLife International and Excellence Through Stewardship, advising

farmers that they may learn more about “stewardship” by visiting the provided links. See

http://www.syngentabiotech.com/BioStewardshipLinks.aspx.

           66.       It is clear that the importance of obtaining import approval from key markets was

well known and recognized within the biotechnology industry and by Syngenta before Syngenta

commercialized MIR162, under the Agrisure Viptera® brand name and trademark, for the 2011

crop year.

           67.       And Syngenta had committed to not commercializing new genetically modified

traits that had not been approved by key import markets. See, e.g., BIO Product Launch Policy,

Syngenta Implementation Principles (Nov. 2007). Even if it had not, Syngenta clearly knew the

risks of premature commercialization, and knew that without stringent containment and

channeling procedures, MIR162 would contaminate the U.S. corn supply and move to export

markets, causing significant trade disruption as set out below. Based on clear warnings and its




509985.1                                             19
     Case 2:17-cv-02022-JWL-JPO Document 1-1 Filed 12/20/16 Page 24 of 103




own knowledge, Syngenta knew or plainly should have known that China was a key and growing

market. Responsible practice dictated that Syngenta not commercialize Agrisure Viptera®, and

certainly not do so without adequate containment and effective channeling measures in place,

prior to obtaining import approval. Syngenta, however, did just the reverse.

Regulation, Testing And Deregulation Of MIR162

           68.   The process of commercialization begins with obtaining approvals from U.S.

agencies, including (but not limited to) deregulation from the Animal, Plant and Health

Inspection Service (“APHIS”) of the USDA.

           69.   The regulations in 7 C.F.R. part 340 (the “GMO Regulations”) regulate, among

other things, the introduction (importation, interstate movement, or release into the environment)

of organisms and products altered or produced through genetic engineering that are plant pests or

that there is reason to believe may be plant pests. Such genetically engineered organisms and

products are considered “regulated articles.” The GMO Regulations were promulgated under the

Plant Protection Act (the “PPA”), 7 U.S.C. § 7701, et seq., or its predecessor statutes.

           70.   MIR162 is a genetically modified trait which, prior to its deregulation, was

regulated by the USDA under the PPA and GMO Regulations.

           71.   The GMO Regulations at 7 C.F.R. §§340.3 and 340.4 allow release into the

environment of regulated, genetically modified traits, such as MIR162, prior to their

deregulation, through field trials conducted under permits issued by, or notifications to, APHIS.

Developers who field test genetically modified traits, such as Syngenta in its field testing of

MIR162, are required to adhere to certain performance standards set forth in the GMO

Regulations to ensure that the regulated genetically modified organism does not persist in the

environment or enter the food or feed supply. Similarly, at the end of all field tests, developers




509985.1                                        20
     Case 2:17-cv-02022-JWL-JPO Document 1-1 Filed 12/20/16 Page 25 of 103




must destroy or properly contain any viable plant material in the field and ensure that no

regulated material persists in the environment beyond the duration of the trial.

           72.   Syngenta is no stranger to release of regulated GM events. In 2005, Syngenta

entered into a settlement with the USDA ($375,000 fine plus a required training program)

stemming from its release of still-regulated Bt10 corn, which Syngenta supplied as deregulated

Bt11 corn between 2001 and 2004. About 14,000 bags of Bt10 seeds, or enough to plant 37,000

acres, were sold from 2001 to 2004, mainly to farmers in the U.S. but also in Canada and

Argentina. The Bt10 event was found in at least five Bt corn breeding lines in the U.S. and it

was estimated that the seeds could have been planted on 37,000 acres in the U.S., producing “an

estimated 150,000 tons of corn from this area” and accounting for approximately .01% of the

total U.S. corn acreage. See New York Times, “U.S. Fines Swiss Company Over Sale of Altered

Seed” (April 9, 2005); PR Newswire, “Syngenta Agrees to Settlement With USDA on

Unintended       Bt10   Corn”     (http://www.prnewswire.com/news-releases/syngenta-agrees-to-

settlement-with-usda-on-unintended-bt10-corn-54220787.html). Syngenta later paid a $1.5M

fine to the EPA, which conducted an investigation confirming the distribution of unregistered

Bt10 corn on “over 1000 occasions.” EPA News Release “EPA Fines Syngenta $1.5 Million for

Distributing Unregistered Genetically Engineered Pesticide” (Dec. 21, 2006).

           73.   Between 1999 and 2007, Syngenta conducted at least 119 field trials of MIR162

corn under at least 20 permits issued by, or notifications to, APHIS under the GMO Regulations

at sites in 31 states, including multiple field tests in each of the ten (10) states with the largest

corn production.

           74.   The GMO Regulations in 7 C.F.R. §340.6(a) provide that any person may submit

a petition to APHIS seeking a determination that an article should not be regulated under 7




509985.1                                         21
     Case 2:17-cv-02022-JWL-JPO Document 1-1 Filed 12/20/16 Page 26 of 103




C.F.R. part 340.

           75.   On May 24, 2007, Syngenta filed a patent application for MIR162 in order to

secure Syngenta’s exclusive right to market that corn trait pending regulatory approval by the

USDA.

           76.   On or about September 10, 2007, Syngenta submitted a petition (the “MIR162

Deregulation Petition”) seeking a determination of nonregulated status (APHIS Petition Number

07-253-01p) for corn (Zea mays L.) designated as transformation event MIR162, which has been

genetically engineered for insect resistance, stating that corn line MIR162 is unlikely to pose a

plant pest risk and, therefore, should not be a regulated article under the GMO Regulations.

           77.   Upon information and belief, Syngenta continued its field tests of MIR162 under

the GMO Regulations during the approximate 31-month period after filing the MIR162

Deregulation Petition and the USDA decision deregulating MIR162 in April 2010.

           78.   Syngenta stated in the MIR162 Deregulation Petition that it understood “that a

copy of the MIR162 Deregulation Petition may be made available to the public as part of the

public comment process.” MIR162 Deregulation Petition at 3 of 268. APHIS’ notice, published

in the Federal Register on January 13, 2010 (75 Fed. Reg. 1749) (the “MIR162 Deregulation

Notice”), expressly invited public comment regarding the MIR162 Deregulation Petition and

further provided instructions as to how copies of the petition and accompanying draft

environmental assessment and plant pest risk assessment could be obtained either by placing a

phone call or accessing them on the internet.

           79.   In a preliminary observation to Section IX of the MIR162 Deregulation Petition,

entitled “Adverse Consequences of Introduction” (the “Adverse Consequences Discussion”),

Syngenta represented that it knew “of no data or observations that indicate [that] MIR162 would




509985.1                                        22
     Case 2:17-cv-02022-JWL-JPO Document 1-1 Filed 12/20/16 Page 27 of 103




adversely impact the quality of the human environment, directly, indirectly, or cumulatively.

This includes a lack of anticipated effects on . . . the economy, either within or outside the U.S.”

           80.   Specifically, among the matters addressed in the Adverse Consequences

Discussion were “Economic Impacts” at Section IX.D. In the introduction to that section, at

pages 108-109, Syngenta stated:

                 Economic considerations are not explicitly described in the factors
                 listed in 40 CFR § 1508.27. However, economic impacts do relate
                 to the significance of the requested action and have been
                 considered by some courts in reviewing NEPA [National
                 Environmental Policy Act] compliance.

           81.   The economic impacts discussed included the “Effects on the Export Market,” at

Subsection IX.D.4, page 111, which included Syngenta’s representation that “there should be no

effects on the U.S. maize export markets” and advised that applications for approval of MIR162

maize were in process in a number of such export markets with “functioning regulatory

systems,” including China, stating:

                 There should be no effects on the U.S. maize export market
                 since Syngenta is actively pursuing regulatory approvals for
                 MIR162 maize in countries with functioning regulatory systems
                 for genetically modified organisms and that import maize from the
                 U.S. or Canada. Regulatory filings for MIR162 maize are in
                 process for Colombia, Japan, South Korea, Taiwan, China, the
                 Philippines, Australia and New Zealand, South Africa, the
                 European Union, Russia, and Switzerland. (emphasis added).

           82.   Other portions of the MIR162 Deregulation Petition made similar representations

regarding China.

           83.   Syngenta also stated in Subsection IX.D. of the MIR162 Deregulation Petition

that stewardship agreements with growers would require channeling of MIR162 away from

export markets which had not approved import of MIR162 maize, that Syngenta would

undertake “a wide-ranging grower education campaign” respecting channeling, and that



509985.1                                         23
     Case 2:17-cv-02022-JWL-JPO Document 1-1 Filed 12/20/16 Page 28 of 103




channeling would be effective based upon prior experiences with the specialty maize market:

                 Syngenta’s stewardship agreements with growers will include a
                 term requiring growers to divert this product away from export
                 markets (i.e. channeling) where the grain has not yet received
                 regulatory approval for import. Syngenta will communicate these
                 requirements to growers using a wide-ranging grower education
                 campaign (e.g., grower Stewardship Guide). As noted in the
                 context of the IRM program, these procedures are not hypothetical.

                 The ability to channel particular types of maize for particular uses,
                 such as the export market, is demonstrated by the continuing
                 success of the specialty maize market. Use of identity
                 preservation measures has enabled growers to maintain a wide
                 variety of specialized maize products, including white food
                 maize, waxy maize, hard endosperm maize, high oil maize,
                 nutritionally enhanced maize, high extractable starch maize, non
                 GMO maize, and organic maize (U.S. Grains Council, 2006).
                 Channeling programs are well established for separating each of
                 these maize varieties. As set out above, these practices have
                 continued successfully long after the introduction of numerous
                 varieties of transgenic maize.

           84.   Upon information and belief, the stewardship agreements to which Syngenta

referred would have been between growers and Syngenta Seeds.

           85.   In December 2009, based upon its review of the MIR162 Deregulation Petition,

APHIS prepared a Draft Environmental Assessment which parroted what Syngenta had

represented in the MIR162 Deregulation Petition:

                 There should be no effects on the U.S. corn export market since
                 Syngenta is actively pursuing regulatory approvals for the MIR162
                 corn in countries with functioning regulatory systems for
                 genetically modified organisms and that import corn from the U.S.
                 or Canada. Regulatory filings for the MIR162 corn are in process
                 for . . . China.

           86.   The Draft Environmental Assessment was among the documents publicly

available under the MIR162 Deregulation Notice.

           87.   On April 12, 2010, APHIS concluded that MIR162 corn should be deregulated.




509985.1                                          24
     Case 2:17-cv-02022-JWL-JPO Document 1-1 Filed 12/20/16 Page 29 of 103




See Determination of Nonregulated Status for MIR162 Corn, April 12, 2010. See Syngenta

Biotechnology, Inc. Determination of Nonregulated Status for Corn Genetically Engineered for

Insect Resistance, 75 Fed. Reg. 20560 (April 20, 2010).

           88.   Prior to making that determination, APHIS, on April 9, 2010, issued its National

Environmental Policy Act Decision and Finding of No Significant Impact and, in March 2010,

issued its Final Environmental Assessment. APHIS compared anticipated impact by taking no

action (i.e., keeping MIR162 as a regulated article) with deregulating MIR162 and concluded in

the Finding of No Significant Impact that in each instance the impact upon the “Export Market”

would remain “unchanged.” Similarly, in the Final Environmental Assessment dated March

2010, APHIS adopted and repeated Syngenta’s representations that it did not expect any effects

on the United States corn export market “by the cultivation of the MIR162 corn cultivars” and

that applications to countries with functioning regulatory systems, including China, were in

process.

           89.   Thereafter, on April 21, 2010, Syngenta issued its press release, “Syngenta

receives approval for breakthrough corn trait technology in the U.S.” (April 21, 2010). In

making the announcement that MIR162 had been deregulated, Syngenta noted the plans for its

imminent commercialization, stating that “[t]he trait will be combined with the Agrisure 3000GT

trait stack to provide corn growers with broad-spectrum, insect control and glyphosate tolerance

for maximum convenience and productivity” that that “Syngenta plans to commercialize hybrids

containing the Agrisure Viptera® trait for the 2011 growing season.”

           90.   The April 21, 2010, press release confirms that the MIR162 Deregulation Petition

was a document prepared and published by Syngenta for the sole purpose of facilitating,

promoting and inducing the commercial sale of its products containing MIR162 maize. The




509985.1                                        25
     Case 2:17-cv-02022-JWL-JPO Document 1-1 Filed 12/20/16 Page 30 of 103




MIR162 Deregulation Petition contained statements and representations to induce APHIS to

deregulate MIR162, thereby beginning the commercialization of the product.          Further, the

MIR162 Deregulation Petition was filed with full knowledge that the statements and

representations therein would be published to stakeholders – including the intended purchasers

and distributors of Syngenta’s products. The commercial nature of the statements in the MIR162

Deregulation Petition are clear: In explaining the rationale of the MIR162 Deregulation Petition,

Syngenta stated therein that “[t]ransformation event MIR162 maize has been developed by

Syngenta to provide growers with maize varieties that are resistant to feeding damage caused by

a number of significant lepidopteran insect pests. This trait will be offered to growers in

combination with other deregulated maize traits.” MIR162 Deregulation Petition at 11 (emphasis

added). The MIR162 Deregulation Petition not only espoused the sale of the product to growers,

it was rife with statements and representations about the commercial benefits of Syngenta’s

product and expected market impact thereof.         Among other indications that the MIR162

Deregulation Petition was a document in which commercial representations and statements were

made are the following:

              a.      “Transformation event MIR162 has been developed by Syngenta to
                      provide U.S. growers with maize hybrids that are resistant to feeding
                      damage caused by a number of lepidopteran insect pests …
                      Commercialization of this new trait has the potential to reduce
                      conventional insecticide use in maize, increase grower profits, and
                      improve grain quality.” (p. 13);

              b.      “. . . [I]t [MIR162] will be commercialized as a combined-trait hybrid with
                      Syngenta’s Bt11 maize event.” (p. 96);

              c.      Syngenta’s numerous references to and representations regarding the
                      commercial benefits to farmers from introduction of MIR162 (see, e.g.,
                      pp. 5, 97, 109 [enhanced productivity], p. 110 [increased competition and
                      farmer and consumer choice]);

              d.      Syngenta’s repeated observations that no adverse consequences should



509985.1                                       26
     Case 2:17-cv-02022-JWL-JPO Document 1-1 Filed 12/20/16 Page 31 of 103




                        occur to the economy, either within or outside the U.S. (see e.g., p. 5) and
                        the statements regarding the lack of impact upon exports and intended
                        channeling away from export markets which had yet to approve MIR162,
                        as alleged above;

                 e.     An appendix report regarding the economic implications of the
                        introduction of MIR162; and

                 f.     Syngenta’s acknowledgement that the MIR162 Deregulation Petition
                        would be made available to the public as previously alleged (p.3).

           91.   Contrary to Syngenta’s representations that its regulatory filings were “in

process” in China, Syngenta first sought regulatory approval for MIR162 from China’s Ministry

of Agriculture three years later in or around March 2010. See http://www.syngenta-

us.com/viptera_exports/images/MIR162-Regulatory-Timeline-9-2014.pdf.

           92.   Consistent with its statements to the USDA in the Deregulation Petition, Syngenta

considered China to have a functioning regulatory system. Charles Lee, Syngenta’s Head of

Corn for North America, has testified:

                 Q: All right. Does China have a functioning regulatory system as
                    you use that term?
                 A: Yeah. So I believe BIO is very specific about what a
                    functioning regulatory system is that, you it protects
                    intellectual property. It operates on a set of defined timelines
                    and we would consider that to be functioning.
                 Q: So yes, China has a functioning regulatory system?
                 A: Yes.
                 Q: And to your understanding they did in 2010 as they do today?
                 A: Yes.

Charles Lee Deposition (9/7/2011) (Bunge) at 72-73. See also NGFA Newsletter dated July 14,

2011 (“China is one of the countries that has a functioning, predictable and science-based

regulatory system for approving bio-enhanced events.”).

Syngenta’s Initial Commercialization




509985.1                                         27
     Case 2:17-cv-02022-JWL-JPO Document 1-1 Filed 12/20/16 Page 32 of 103




           93.    As Syngenta knows, nothing about USDA deregulation requires a developer like

Syngenta to commercialize. See Charles Lee Deposition (9/7/2011) (Bunge) at 69-72.

           94.    Responsible practice dictated that Syngenta obtain import approval from key

market countries prior to commercialization (at minimum, before first planting). See, e.g., BIO

Product Launch Stewardship, December 10, 2009, at 4.

           95.    As early as 2009, Syngenta itself was referring to China as a “Key” export

country. See Viptera Timeline Storyboard Discussion dated March 29, 2009 (listing “Key

Export Approvals,” including China and stating: “China import approvals???”).

           96.    In discussing countries for which regulatory approval should be obtained prior to

commercialization, Syngenta’s Miloud Araba identified the “key countries” that would

“probably be considered the minimum for corn” to include China. See Email from Miloud Araba

to Kevin Turnbald et al., dated September 29, 2010.

           97.    In a presentation to the NGFA in 2010, Syngenta listed China as among “key

import approvals” it was or would be seeking.           See Powerpoint entitled “2010 Syngenta

Pipeline,” Presentation to the National Grain and Feed Association.

           98.    Syngenta, however, well knew that it would not have import approval from China

for the 2011 crop year.

           99.    The typical time period for import approval from China during this time period

was approximately 2-3 years.

           100.   Syngenta was not even projecting approval from China for the 2011 crop year but

rather, hoping for approval by the 2012 crop year. A Syngenta Powerpoint Presentation dated

July 20, 2010 contains a chart showing submission and anticipated approval dates by country.




509985.1                                         28
     Case 2:17-cv-02022-JWL-JPO Document 1-1 Filed 12/20/16 Page 33 of 103




This chart indicates that Syngenta requested import approval from China on March 1, 2010 and

anticipated approval by May 10, 2012. See Syngenta Powerpoint dated July 20, 2010.

           101.   In a deposition in the Syngenta v. Bunge case, Syngenta’s North American head

of Corn, Charles Lee, revealed that Syngenta privately planned from the outset to commercialize

Agrisure Viptera® with or without China’s regulatory approval, notwithstanding the

commitments it had made to stakeholders and industry participants not to commercialize

genetically modified traits until after approval from key export markets.

           102.   Syngenta commercialized Agrisure Viptera® for the 2011 growing season despite

the lack of regulatory approval from China, and despite Syngenta’s knowledge that China was a

key (and growing) export market for U.S. corn.

           103.   Syngenta did not disclose these facts to growers. See, e.g., Email from Bryan

Young, Burrus Seed Farms, Inc. dated August 4, 2011 (“I think this is very poor of Syngenta by

getting the trait out there and not telling us it wasn’t approved.”

           104.   Syngenta was well aware in 2010 of the strong likelihood that China would be a

significant import market by 2011. After reviewing a USDA Forecast of China’s 2010-2011

Crops and Trade, Syngenta’s John Bernens stated in an email dated May 13, 2010: “Look at the

stocks to use ratio. The fear of China’s approvals might be bigger than anyone thought.”

           105.   It was well known at least by August 2010 that China was an important and

 growing export market for US corn. As reflected in a trade publication at the time:

                  China is entering a ‘new era’ of corn buying. The world’s most
                  populous country may import as much as 15 million tons of corn in
                  2015, according to the U.S. Grains Council. . . . Chinese imports of
                  corn will grow from 1.7 million tons in 2010 to 5.8 million tons in
                  2011, and to 15 million tons in 2014-15, according to Hanver Li,
                  Chairman of Shanghai JC, speaking to the U.S. Grains Council . . .
                  Where will China import all this corn from? The first place they
                  will turn is the U.S., which is the world’s largest corn exporter,



509985.1                                          29
     Case 2:17-cv-02022-JWL-JPO Document 1-1 Filed 12/20/16 Page 34 of 103




                  accounting for 60% of global corn exports in 2009 . . . If China
                  imports an incremental 600 million bushels of corn in 2014 from
                  the U.S., using the USDA’s baseline projections, U.S. corn ending
                  stocks would be 960 million bushels. This would put the Ending
                  Stocks to Use Ratio at 6.3%, the lowest level since 1995. 2010 is a
                  major turning point in the grain market. The Chinese transition to
                  becoming a net importer of corn will have a substantial implication
                  on the world’s corn supply.

http://www.farmlandforecast.com/2010/08/chinese-imports-to-change-grain-markets/

           106.   Syngenta was, and continues to be, a member of the U.S. Grains Council, to

which Mr. Li made his presentation. Indeed, Syngenta’s Rex Martin has, upon information and

belief, actively participated as a member of the Council’s Biotechnology Advisory Team.

           107.   In addition, NAEGA warned Syngenta of the importance of obtaining Chinese

regulatory approval prior to launch during a meeting in or around August 2010 with NGFA’s

Biotechnology Committee. See NGFA Newsletter dated July 14, 2011. The same issue was

discussed at the subsequent NGFA Biotechnology Committee meetings – once during the March

2011 convention and another conducted on June 29, 2011 in Washington.

           108.   Syngenta knew of NAEGA’s warning by the summer of 2010 and also knew of

NAEGA’s position that import approval should be obtained from China before marketing

MIR162. See John Bernens Deposition (11/2/2012) (Bunge) at 215-221.

           109.   Bernens made everyone at Syngenta aware of NAEGA’s position, but Syngenta

refused to stop marketing and sale of Agrisure Viptera® in 2010 for planting and harvest in

2011. Id. at 222-223.

           110.   In the fall of 2010, NGFA, in a private meeting with David Morgan, Regional

Director of North America and President of Syngenta Seeds, also urged Syngenta to delay

commercialization of Agrisure Viptera®, emphasizing the risk of trade disruption with China.




509985.1                                          30
     Case 2:17-cv-02022-JWL-JPO Document 1-1 Filed 12/20/16 Page 35 of 103




           111.   On October 29, 2010, a Reuters article was circulated among Syngenta executives

stating: “Chinese corn imports have rocketed this year and are expected to continue growing

next year, after China’s own harvest couldn’t keep up with a boom in demand . . . .” Email chain

ending with Jack Bernens dated October 29, 2010 attaching and discussing Reuters article.

           112.   Evidence of China’s importance continued to mount prior to planting in 2011.

           113.   In January 2011, Syngenta employees prepared written responses to questions

posed by Thrive Magazine. They responded to one of the questions: “China has moved from an

insignificant [sic] importer of U.S. corn to the second most important market for U.S. corn.”

Email chain between Charles Lee and Dianne Mayhart dated January 25-26, 2011.

           114.   The USDA’s long term projections, compiled in November 2010 and issued in

February 2011, forecast dramatic increases in China’s imports of corn from the USDA’s prior

year’s projections. As stated by the USDA, the “increase in China’s imports account for one-

third of the growth in world corn trade.”

           115.   On February 9, 2011, the CEO of Syngenta AG, Mike Mack, stated that China’s

“import requirements alone influence global commodity prices.” Syngenta 2010 Full Year

Results, Remarks of Mike Mack.

           116.   On February 25, 2011, Syngenta’s Head of Industry Relations corresponded with

the Head of Syngenta’s Southeast Asian Territory as follows:

                  I believe I have discussed with you several times about our risk
                  with MIR162 and not having approval in EU and China. I have
                  been getting more questions from traders . . . lately and [Charles
                  Lee, Head of Corn for North America] wanted me to be sure you
                  understood the potential risk for China.

           117.   At the time it was marketing and selling Agrisure Viptera® – and before planting

in 2011, Syngenta clearly knew of China’s importance.




509985.1                                         31
       Case 2:17-cv-02022-JWL-JPO Document 1-1 Filed 12/20/16 Page 36 of 103




           118.   Syngenta could, and should, have waited to market Agrisure Viptera®. It also

could, and should, have withdrawn it from the market before planting but did not.

           119.   To the contrary, and despite the risks, Syngenta Seeds sold Agrisure Viptera® to

approximately 12,000 corn producers with a projected yield estimated in September 2011 of 250

million bushels. See Syngenta v. Bunge, 820 F. Supp. 2d 953, 958 (N.D. Iowa 2011). Viptera®

growers could be found in nearly every state such that the market for Viptera® products was

very broad across the United States. See id. at 963. Syngenta projected that Agrisure Viptera®

seed sales would exceed twenty percent (20%) of the United States corn seed market in future

years. See id. at 958.

           120.   Other published estimates indicate that during the 2011 crop year, Agrisure

Viptera® had been planted on 1.1% of the acres in the U.S. on which corn had been grown. See

Paul Christensen, Chinese Approval of Syngenta Agrisure Viptera®, Seed in Context Blog:

Commentary of the World of Seed. (http://intlcorn.com/seedsiteblog/?tag=syngenta).

Syngenta’s Continuing Irresponsibility After 2011 Planting

           121.   After planting but before harvest in 2011, the importance of China, and the risk of

MIR162 contamination and market disruption, just continued to grow.

           122.   A July 13, 2011, internal e-mail attached a news article projecting that China

“will probably buy 5 million metric tons this year from 2 million tons in 2010.”          Email from

Paul Minehart to Charles Lee and others dated July 13, 2011.

           123.   On July 22, 2011, Syngenta’s CEO Mack stated: “The need to improve yield and

quality is present across all emerging markets in the region, although it’s China which continues

to have the greatest impact on world markets, with increasing imports not just of soybeans but

also        now     of     corn.”          July     22,     2011      Transcript     of     Remarks




509985.1                                          32
     Case 2:17-cv-02022-JWL-JPO Document 1-1 Filed 12/20/16 Page 37 of 103




(http://www.syngenta.com/global/corporate/SiteCollectionDocuments/pdf/transcripts/H1-2011-

results-transcript.pdf).

           124.    An internal August 16, 2011 e-mail from Syngenta’s Trait Marketing Manager,

Quinn Showalter, confirms that Syngenta was well aware of the increased importance of China

as a corn importer:

                  The issue that has surfaced is that China has become a larger corn
                  importer after the planting season finished. China placed initial large
                  orders including the 2011 corn crop with grain handlers around the
                  first of July of this year. Last year, the U.S. exported 1.7 million tons
                  of corn to China. That number is expected to increase 50% this year
                  to 3 million tons - - the highest import quantity in 16 years.

Email from Quinn Showalter to Charles Lee and others dated August 16, 2011.

           125.    Of course, the fact that China would be a significant importer in 2011 had not just

“surfaced” but had been known by Syngenta for some time.

           126.    In August 2011, still before the first commercially grown corn planted with the

MIR162 trait had been harvested, NGFA and NAEGA issued a Joint Statement warning

Syngenta about MIR162:

                   U.S. farmers, as well as the commercial grain handling and export
                   industry, depend heavily upon biotechnology providers voluntarily
                   exercising corporate responsibility in the timing of product launch
                   as part of their product stewardship obligation . . .The negative
                   consequences of overly aggressive commercialization of biotech-
                   enhanced events by technology providers are numerous, and
                   include exposing exporting companies to financial losses because
                   of cargo rejection, reducing access to some export markets, and
                   diminishing the United States’ reputation as a reliable, often-
                   preferred supplier of grains, oilseeds and grain products. Premature
                   commercialization can reduce significantly U.S. agriculture’s
                   contribution to global food security and economic growth.

                   Putting the Chinese and other markets at risk with such aggressive
                   commercialization of biotech-enhanced events is not in the best
                   interest of U.S. agriculture or the U.S. economy.




509985.1                                             33
     Case 2:17-cv-02022-JWL-JPO Document 1-1 Filed 12/20/16 Page 38 of 103




           127.   As stated by these associations: “The grain handling and export industry have

communicated consistently, clearly and in good faith with biotechnology providers and seed

companies about the importance of biotech-enhanced events in commodity crops receiving

regulatory approvals or authorizations -- prior to commercialization -- in key export markets

where foreign governments have functioning regulatory systems that approve biotech-enhanced

traits. These communications regarding key export markets, identified through market and trade

assessments, have been conveyed through industry trade associations and in direct

communications by individual companies.” Id.

           128.   At least by September 2011, Syngenta’s own business partners were saying that

China was “major importer” of U.S. corn. See Email from Clayton Becker dated September 16,

2011.

           129.   A report from the U.S. Grains Council President Thomas Dorr on his July 2011

trip to China, obtained from Syngenta’s document production, was equally blunt: “The

likelihood of U.S. corn entering the China market with this unapproved market is substantial.”

See U.S. Grains Council Trip Report by Thomas Dorr dated July 22, 2011 at 1.

           130.   That warning was very valid. Not only did Syngenta commercialize Agrisure

Viptera® prematurely, it did so without adequate systems in place to either isolate MIR162 or

channel it away from markets, including China, from which approval was not obtained.

Transgenic Contamination

           131.   Corn, or maize, has staminate (male) and pistillate (female) flowers on the same

plant and is wind pollinated. While there is some possibility of self-fertilization, corn generally

is considered an outcrossing species. Under normal field conditions some 95% of the ovules are

fertilized by pollen from other plants. Pollen is released in large quantities. “Individual corn




509985.1                                         34
     Case 2:17-cv-02022-JWL-JPO Document 1-1 Filed 12/20/16 Page 39 of 103




plants produce 4 to 5 million pollen grains. Therefore, even if only a small percentage of the total

pollen shed by a field of corn drifts into a neighboring field, there is considerable potential for

contamination through cross pollination.” Thomison, “Managing "Pollen Drift" to Minimize

Contamination of Non-GMO Corn,” Ohio State University Extension Fact Sheet.

           132.   “Once released from the tassels into the air, pollen grains can travel as far as 1⁄2

mile (800 m) in 2 minutes in a wind of 15 miles per hour (27 km/h) (Nielsen 2003b).” Kent

Brittan, “Methods to Enable the Coexistence of Diverse Corn Production Systems,” University

of California. Studies indicate that “cross-pollination between cornfields could be limited to 1%

or less by a separation distance of 660 feet (200 m), and to 0.5% or less by a separation distance

of 984 feet (300 m). However, cross-pollination frequencies could not be reduced to 0.1%

consistently, even with isolation distances of 1,640 feet (500 m).” Id.

           133.   The Association of Official Seed Certifying Agencies (AOSCA) recognizes that

“[a]lthough most corn pollen is deposited near its origin, isolation by very long distance (several

miles) from any other corn is probably the only means of assuring complete confinement other

than assuring complete asynchrony of flowering.” However, “[t]he matter of whom or what

entity controls the area constituting a proposed isolation zone and beyond could be crucial and/or

problematic to successful confinement. AOSCA Report at 62. Assuring “complete asynchrony

of flowering” also is fraught with shortcomings. For example, “[d]ifferences in maturity

between the early and late hybrid may not be large enough to ensure that the flowering periods of

each hybrid will not overlap, especially when certain climatic conditions may accelerate or delay

flowering. Moreover this strategy will only work if [the farmer] control[s] the adjacent fields or

can closely coordinate [his] corn planting operations with those of [his] neighbors.” Thomison,




509985.1                                           35
     Case 2:17-cv-02022-JWL-JPO Document 1-1 Filed 12/20/16 Page 40 of 103




“Managing ‘Pollen Drift’ to Minimize Contamination of Non-GMO Corn,” Ohio State

University Extension Fact Sheet.

           134.   In addition, “[p]lanting operations to control pollen drift are only part of the

process of producing an IP corn grain crop.” Thomison, “Managing ‘Pollen Drift’ to Minimize

Contamination of Non-GMO Corn,” Ohio State University Extension Fact Sheet. Other major

issues include harvesting, storage, and commingling within the production and supply chain.

           135.   “Different corn breeds within an individual farm are commingled at the

harvesting stage. Corn from hundreds of thousands of farms is then further commingled as it is

gathered, stored and shipped through a system of local, regional and terminal grain elevators.

Elevators, storage and transportation facilities are generally not equipped to test and segregate

corn varieties. The commingled corn is then marketed and traded as a fungible commodity.” In

re StarLink Corn Products Liability Litig., 212 F. Supp. 2d 828, 834 (N.D. Ill. 2002).

           136.   As a developer of genetic events, including genetically engineered corn, Syngenta

knew or certainly should have known the very high likelihood that if commercialized, MIR162

would disseminate throughout the supply chain – in fields, storage and transportation – via the

numerous routes that transgenic contamination occurs.

           137.   One Syngenta representative stated: “The primary issue at hand through this

entire situation is that many growers probably do not know where their Agrisure Viptera is

planted (making segregation nearly impossible).” Email from Eric Anderson to Eric Carlson

dated August 23, 2011.

           138.   Syngenta acknowledged to Cargill that “some commingling” of Viptera® with

non-Viptera® corn would occur at harvest in the fall of 2011. See Email chain between Charles

Lee (Syngenta) and Randy Giroux (Cargill) dated August 30 - September 1, 2011.




509985.1                                         36
     Case 2:17-cv-02022-JWL-JPO Document 1-1 Filed 12/20/16 Page 41 of 103




           139.   Before commercializing MIR162, Syngenta also knew the risk that MIR162

would move into export channels from planting and harvest of MIR162, knew that risk was

significant, and that detection of MIR162 in markets lacking approval created significant risk of

trade disruption. See, e.g., Email from David O’Reilly dated October 31, 2009 (discussing

planting of MIR162 in Brazil, which gave approval, the “significant risk MIR162 will be

detectable in export channels before EU approvals” and “risk of disruption of Brazilian corn . . .

because of detection of MIR162”).

           140.   Syngenta knew that MIR162 in the U.S. “could be in export channel[s]” and “be

detectable in export channels” by 2011. MIR162 & EU approvals Powerpoint attached to Email

from David O’Reilly dated October 31, 2009.

           141.   Syngenta’s Charles Lee admitted in his deposition in Syngenta v. Bunge that there

was a “real risk” that China would reject grain shipments due to the presence of unapproved

genetically modified traits. See Charles Lee Deposition (9/7/2011) (Bunge) at 94-95.

           142.   Syngenta, however, took few to no steps to assure that MIR162 would not enter

 the U.S. corn supply through cross-pollination and/or commingling in fields, and took wholly

 inadequate steps to prevent commingling within grain elevators or otherwise within the supply

 chain as described below, virtually assuring that MIR162 would contaminate the U.S. corn

 supply in every way possible.

Syngenta’s Nonsensical And Ineffective “Stewardship” Program

           143.   Syngenta’s representation in its MIR162 Deregulation Petition that the “ability to

channel particular types of maize for particular uses such as the export market” is demonstrated

by success in the “specialty maize market” is grossly misleading. In specialty markets like

organic farming, the grower receives a premium and as such, takes the onus on himself to isolate




509985.1                                          37
     Case 2:17-cv-02022-JWL-JPO Document 1-1 Filed 12/20/16 Page 42 of 103




his specialty corn crop from transgenic contamination from neighboring fields (such as spatial

and temporal isolation and detasseling). See Thomison, “Managing Pollen Drift in Maize Seed

Production,” Department Horticulture and Crop Science, Ohio State University (“Growers of

value added identity preserved (IP) grains need to control pollen contamination in order to

optimize expression of value added traits in specialty maize and thereby obtain premiums.”).

The specialty seller also markets to a specialty buyer to whom he channels. Both have incentive

to take all measures necessary to avoid contamination by non-specialty corn. The growing,

marketing and distribution system of commodity corn is vastly different. A “Commodity Crop”

is “a crop which in the ordinary course is grown using common agricultural practices and is

commingled and not segregated for special handling or use when it enters the chain of

commerce.” Biotechnology Industry Organization, “Product Launch Stewardship: Food and

Agriculture Section,” November 27, 2012, at Annex 1 Introduction n.3.

           144.   Syngenta knew that the commodity market is different than the specialty market.

On October 26, 2007, Syngenta’s Sarah Hull circulated internal Questions & Answers for

upcoming meetings. One anticipated question was: “It seems that Syngenta believes a closed

loop system is workable to keep unapproved product completely away from export channel . . .

What do you think?” Syngenta’s prepared answer was: “For specialty grain, not commodity

grain, we do believe a closed loop, dedicated grain management system can work because the

grain is contracted for a specific use and a specific end user.” Email from Sarah Hull to Jeff Cox

and others dated October 26, 2007, attaching “Potential Q/A for JZZ and MAFF Meetings.”

(emphasis added).

           145.   The difficulties with channeling are illustrated by the infamous “StarLink”

contamination in 2000 that was the subject of significant litigation. See In re StarLink Corn




509985.1                                         38
     Case 2:17-cv-02022-JWL-JPO Document 1-1 Filed 12/20/16 Page 43 of 103




Products Liability Litigation, 212 F. Supp. 2d 828 (N.D. Illinois 2002). That is particularly so

where, as in this case, millions of acres of the commodity to be channeled – MIR162 corn – were

planted all across the U.S. Syngenta did not make even minimally reasonable efforts to do so.

           146.   While misleading, Syngenta’s representations to the USDA illustrate Syngenta’s

awareness of the kind of system designed to avoid contamination. Well-known measures in

specialty markets include specifying strict containment protocols by contract (e.g., cleaning

combines and storage areas, isolation distances, dedicated facilities, and inspections), and tracing

the product through the supply chain.

           147.   Syngenta, however, did not take meaningful steps to even minimize the risk of

pollen-mediated gene flow and commingling of Agrisure Viptera® with non-Viptera corn.

           148.   Responsible stewardship procedures include, at minimum, “generally accepted

best seed quality practices designed to prevent low level presence of unauthorized products and

[to] minimize unintended incidental presence of products authorized in the county of production”

and “[m]ak[ing] available prior to commercialization a reliable detection method or test for use

by growers, processors and buyers that enables crop identity verification for intended use.” See

BIO “Product Launch Stewardship,” dated December 10, 2009 Annex 1, Policy Guidance; BIO

“Stewardship Actions to be Taken Prior to Launching Special Traits,” dated October 4, 2010,

Annex 1, Policy Guidance; BIO “Product Launch Stewardship: Food and Agriculture Section,”

dated November 27, 2010, Annex 1 Policy Guidance.

           149.   In its own 2007 launch policy, Syngenta represented that “[w]e will make

available prior to commercialization a reliable detection method or test that enables event

identity in the crop.” BIO Product Launch Policy, Syngenta Implementation Principles

(November 2007).




509985.1                                        39
     Case 2:17-cv-02022-JWL-JPO Document 1-1 Filed 12/20/16 Page 44 of 103




           150.   In July 2010, Syngenta executives discussed methods for detecting genetically

modified traits and shared “one of the stories on MIR162 for why we need a GMOD [genetically

modified organism detection] strategy.” That story noted that “[a]symmetric approval of

Agrisure Viptera in one territory and other territory may affect the free flow of product trade.”

Email from Jingwen Chen to Alejandro Tozzini et al., dated July 20, 2010.

           151.   Syngenta discussed, but rejected, issuing strip test kits to processing facilities and

other grain handlers to reduce the risk of MIR162 entering facilities that exported to unapproved

markets despite the fact that the test kits cost approximately one dollar each. See August 15-16,

2011 Email Chain Subject: Risk Management. Nor did it provide another test method to farmers

or grain handlers as part of a required stewardship program.

           152.   Syngenta also could have contractually required that Viptera® growers adhere to

stringent practices that would have decreased the likelihood of contamination. Syngenta did not,

however, because to do so would have drastically reduced or eliminated sales of that product.

           153.   Instead, and contrary to requiring isolation, Syngenta Seeds gave away free bags

of Viptera to farmers as part of a campaign to encourage Viptera® growers to grow Viptera®

side-by-side with other corn to compare performance. See Syngenta, 820 F. Supp. 2d at 958.

           154.   Syngenta expected the Viptera® corn to cross-pollinate with non-Viptera corn

and, according to Charles Lee, told farmers to consider the adjacent corn Viptera® corn. See

Charles Lee Deposition (9/7/2011) (Bunge) at 221-223.                Yet, there was no contractual

requirement for growers to take measures to prevent such cross-pollination in their own fields, to

segregate Viptera® from non-Viptera® corn or to prevent contamination of other farmers’ fields.

           155.   In fact, Syngenta advised at least one grower that he had no obligation to tell

neighboring corn farmers or grain originators that he had planted Viptera®. This advice was in




509985.1                                           40
     Case 2:17-cv-02022-JWL-JPO Document 1-1 Filed 12/20/16 Page 45 of 103




response to the farmer’s concern that he might be liable if his Viptera® corn cross pollinated

with his neighbor’s corn. See Email from Matt Tenhaeff dated September 27, 2011.

           156.   Moreover, upon information and belief, in addition to the acreage upon which

Agrisure Viptera® (and later, Duracade™) have been grown from sales of those products,

Syngenta has grown on land within the United States corn containing the MIR162 trait for

purposes of seed increase and to develop inventories of product to sell to farmers.         This

additional growth further increased the presence of MIR162 within U.S. agriculture and the

widespread, pervasive contamination which has caused disruption of trade in U.S. corn with

China.

           157.   Syngenta knew the risks. In a June 2010 “Risk Management Report,” Syngenta

recognized that “MIR162 [would be] detected as unapproved trait” as a consequence of large

scale production “before all import approvals are in place.” The report recognized that increased

production in 2010 of corn containing MIR162 increased the “likelihood of MIR162 being

detected as [adventitious presence] in an export channel.” Syngenta classified the impact of this

risk as “high.” Risk Management Report dated June 2010. See also MIR162 & EU approvals

Powerpoint attached to Email from David O’Reilly dated October 31, 2009.

           158.   Syngenta’s commercial sales of Agrisure Viptera® for planting, growing, and

harvest in 2011 reached across the United states, covering nine hundred nineteen (919) counties

and thirty-eight (38) states. See “Unit Stats by State and County, Viptera Only” (Lee Bunge

deposition exhibit); see also Syngenta v. Bunge, 820 F. Supp. 2d at 958, 963.        Despite the

pervasive presence of Agrisure Viptera® and Syngenta’s knowledge of the risks, Syngenta did

not require growers to comply with the kind of strict measures Syngenta knew were minimally

necessary in order to even have a chance at containment.




509985.1                                       41
     Case 2:17-cv-02022-JWL-JPO Document 1-1 Filed 12/20/16 Page 46 of 103




           159.   Syngenta’s professed “channeling” efforts, which could and should have been in

place well prior to harvest in order to direct Agrisure Viptera® away from markets lacking

import approval, also were wholly – and purposefully – inadequate.

           160.   In its 2007 MIR162 Deregulation Petition, Syngenta represented that a lack of

Chinese approval would not pose a problem for U.S. farmers because:

                  Syngenta’s stewardship agreements with growers will include a
                  term requiring growers to divert this product away from export
                  markets (i.e. channeling) where the grain has not yet received
                  regulatory approval for import. Syngenta will communicate these
                  requirements to growers using a wide-ranging grower education
                  campaign (e.g., grower Stewardship Guide) . . . [T]hese procedures
                  are not hypothetical.

           161.   Syngenta’s “stewardship” program, however, did indeed present “hypothetical”

and ineffective procedures, which made contamination of the U.S. corn supply virtually certain.

           162.   Contrary to representations in its MIR162 Deregulation Petition, Syngenta did

not, on information and belief, institute a “wide ranging grower education campaign” through its

Stewardship Agreements, Stewardship Guides or otherwise, and certainly did not do so in a

manner that would be meaningful and effective.

           163.   On information and belief, none of Syngenta Seeds’ Stewardship Agreements

with growers contained any details on Syngenta’s stewardship program. Instead, the agreement

provided that growers should comply with the “most current” version of a “Stewardship Guide,”

which might or might not be given to them when they received the product, and was subject to

unilateral change at any time via modification to a website.           See Syngenta Seeds, Inc.

Stewardship Agreement (Revised 08/2009) at 1; Syngenta Seeds, Inc. Stewardship Agreement

(Revised 03/14/2011) at 1; Syngenta Seeds, Inc. Stewardship Agreement (Revised 05/11/2011)

at 1; Syngenta Seeds, Inc. Stewardship Agreement (Revised 06/05/2013) at 1.




509985.1                                         42
     Case 2:17-cv-02022-JWL-JPO Document 1-1 Filed 12/20/16 Page 47 of 103




           164.   In other words, Syngenta’s “stewardship” program for Agrisure Viptera®

depended, at the outset, on thousands of individual farmers across the country locating and

understanding a Stewardship Guide which they may well not have been provided at the time of

signing the Stewardship Agreement or receiving the product.

           165.   Moreover, while the Stewardship Agreements contained a provision for

“channeling,” they made no mention of China.

           166.   The 2009 version of the Stewardship Agreement provided that the grower “agrees

to: Channel grain produced from seed to appropriate markets to prevent movement to markets

where the grain has not received regulatory approval for import.” It does not, however, identify

China as one of those markets. Rather, the agreement states that: “Grain harvested from corn

hybrids containing Agrisure Technologies . . . may not be fully approved for grain export to

Japan or the European Union” and that “grain from hybrids that do not have the appropriate

import approvals from Japan and the European Union must be directed to domestic uses and

away from export channels.” Syngenta Seeds, Inc. Stewardship Agreement (Revised 08/2009) at

2 (emphasis added). There is no reference to any other unapproved markets, including China.

           167.   The March and May 2011 versions of Syngenta Seeds’ Stewardship Agreement

said – and did not say -- the same thing. See Syngenta Seeds, Inc. Stewardship Agreement

(Revised 03/14.2011) at 1, 2; Syngenta Seeds, Inc. Stewardship Agreement (Revised

05/11/2011) at 1, 2.

           168.   Syngenta Seeds’ 2013 version of the Stewardship Agreement removed the

reference to Japan and the European Union, but even then did not mention China. See Syngenta

Seeds, Inc. Stewardship Agreement (Revised 06/05/2011).




509985.1                                        43
     Case 2:17-cv-02022-JWL-JPO Document 1-1 Filed 12/20/16 Page 48 of 103




           169.    None of the agreements contain any instruction on how the grower was supposed

to “channel.”

           170.   And Syngenta knew or should have known that bare reference to channeling (and

at that, without reference to China), was ineffective. Syngenta itself has stated: “Contracts are

not carefully reviewed or understood.” See Syngenta document entitled “The Role of Grain

Marketing for Future Trait Technologies.”

           171.   In any event, and to the extent other versions of the Stewardship Agreement (or

Stewardship Guide) do reference China, the concept of “channeling” by thousands of individual

corn farmers under Syngenta’s non-existent or – at minimum, inadequate – “stewardship”

program, was certain to fail.

           172.   “Channeling” can only work if all grain handlers and others in the supply chain

are engaged in that endeavor. For example, BIO recognizes that a realistic assessment of

conditions related to handling, distributing, processing and testing products must engage the

various stakeholders. See BIO Product Launch Stewardship, December 10, 2009 at Introduction.

           173.   Upon information and belief, Syngenta did not obtain channeling commitments

from supply chain participants, took no further action to create a marketing plan or channeling

mechanism or to coordinate with grain handling, export and other post-harvest firms, to ensure

that Agrisure Viptera® corn was not directed to markets for which regulatory approval had not

been received, including China.

           174.   This failure was purposeful. Syngenta made a decision that no special provisions

would be made for grain redirection. In the summer of 2010, David Morgan agreed – reluctantly

– to approve sending MIR162 seed planted prior to Japanese approval to a feedlot instead of

placing it into the grain channel if Syngenta did not have to pay for it: “To be clear, if we can do




509985.1                                         44
     Case 2:17-cv-02022-JWL-JPO Document 1-1 Filed 12/20/16 Page 49 of 103




this with zero cost and minimal effort and this keeps everyone ‘quiet,’ then why not? If

otherwise then I personally don’t care about channeling.” Email chain including David Morgan

and Jack Bernens dated June 18, 2010.

           175.   Not only did Syngenta decide it would not take measures for channeling Agrisure

Viptera®, Syngenta sought to stop exporters and grain elevator operators from attempting to

“channel” Agrisure Viptera® away from China. Specifically, Syngenta brought a lawsuit against

Bunge, a grain elevator operator, who refused to accept Agrisure Viptera® corn because that

operator exported corn to China.

           176.   On August 17, 2011, Syngenta issued a letter to Agrisure Viptera® growers

expressing disappointment that Bunge and Consolidated Grain & Barge reportedly would “not be

accepting grain with the Agrisure Viptera® trait.” Syngenta recommended to growers that they

simply “[d]eliver[] to elevators accepting grain with the Agrisure Viptera® trait.” Syngenta

made no mention that these elevators should channel the grain to markets in which that trait had

been approved.

           177.   Syngenta Seeds sued Bunge in Syngenta v. Bunge complaining that Bunge could

not refuse to accept at its grain elevators Agrisure Viptera® corn. Bunge had posted notices at its

grain elevators that it would not accept Agrisure Viptera® corn because the MIR162 trait was

not then approved in China, that China had a zero tolerance policy regarding non-approved

GMO events such as MIR162, and, that Bunge had significant contracts with Chinese markets

which it wanted to fulfill.

           178.   Syngenta Seeds filed the suit seeking an injunction to require it to accept the

Agrisure Viptera® corn despite: (i) its earlier representations in the MIR162 Deregulation

Petition that corn grown with its MIR162 trait would be channeled away from export markets




509985.1                                         45
     Case 2:17-cv-02022-JWL-JPO Document 1-1 Filed 12/20/16 Page 50 of 103




which had not yet approved of its importation; (ii) the requirement in its Stewardship Agreement

with growers who had purchased Agrisure Viptera® seed requiring them to channel their

harvested grain away from export markets which had not yet approved the importation of

MIR162 corn; and (iii) the protocols referenced above approved by the Biotechnology Industry

Organization and other organizations of which Syngenta was/is a member requiring consultation

with industry stakeholders and not commercializing approved traits without major market

approval.

           179.   At the end of the 2010 crop year in August 2010, China had already become the

seventh largest importer of U.S. corn. See Syngenta, 820 F. Supp. 2d at 860-61. Thereafter, in

the spring of 2011, Bunge had sold millions of dollars of U.S. corn for delivery to China between

September 2011 and January 2012. Id.

           180.   The Court in Syngenta v. Bunge denied Syngenta Seeds’ requested injunction on

September 26, 2011. In denying the requested injunction, the Court found that it was foreseeable

that China would not approve importation of MIR162 during the 2010-2011 crop year, that

during that year U.S. exports to China might be significant, and that Syngenta Seeds had caused

the very harm of which it complained.         The Court refused to shift the risk to Bunge for

commercializing Agrisure Viptera® prior to receipt of approval from China. Specifically, the

Court in that case concluded, inter alia, that:

                  [a]t least to some extent, Syngenta’s reputational injuries
                  [allegedly caused by Bunge’s refusal to accept Agrisure Viptera®],
                  thought significant, [were] the result of Syngenta’s decision to
                  commercialize Viptera corn before obtaining import approval from
                  significant import markets, including China, where Bunge’s
                  rejection of unapproved traits was not wholly unforeseen or
                  unforeseeable . . . . (Syngenta, 820 F. Supp. 2d at 988)

           181.   The Court also concluded that:




509985.1                                           46
     Case 2:17-cv-02022-JWL-JPO Document 1-1 Filed 12/20/16 Page 51 of 103




                  no reasonable balance of equities would impose upon Bunge the
                  prodigious additional expense of segregating Viptera corn (or
                  segregating non-Viptera corn earmarked for Chinese export),
                  where Bunge did not create the situation in Viptera corn has not
                  been yet approved for import to China. That situation arises
                  entirely because Syngenta decided to commercialize Viptera corn
                  knowing that it not yet have Chinese and some other import
                  approvals and would not have them for the 2011 crop year, and
                  under circumstances in which Syngenta should have reasonably
                  recognized that Chinese imports of United States corn for the 2011
                  crop year might well be very significant. Syngenta accepted the
                  risk of commercializing Viptera corn, albeit with more than the
                  required or recommended import approvals, but without import
                  approval from all of the reasonably likely foreign markets. I reject
                  Syngenta’s request that I shift that risk, instead, to Bunge . . . . (Id.
                  at 990)

           182.   In addition, in addressing the public interest element for injunctive relief, the

Court declined to shift the risk of the decision to commercialize MIR162 away from Syngenta:

                  I find that the public interest strongly favors allocating the risks of
                  a decision to introduce a new transgenic grain into the commercial
                  market on the company that decided to commercialize that grain
                  before obtaining all import approvals . . . . (Id. at 992)

           183.   The Court also found that in the late summer and fall of 2011, exporters other

than Bunge, including Cargill and Archer Daniels Midland (“ADM”), had also refused to accept

Agrisure Viptera® at some of their facilities due to export market issues such as the failure of

Syngenta to receive approval from the European Union. Id. at 962.

Syngenta’s Irresponsibility And Misrepresentations Moving Into The 2012 Crop Year

           184.   Despite the risk of contamination and movement of Agrisure Viptera into export

markets, Syngenta continued its course and sold even more Agrisure Viptera® for planting in

2012, further increasing those risks.




509985.1                                             47
     Case 2:17-cv-02022-JWL-JPO Document 1-1 Filed 12/20/16 Page 52 of 103




           185.   And Syngenta expanded sales of Agrisure Viptera® even as China was

dramatically increasing imports of U.S. corn and was projected to be the largest importer of U.S.

corn by the year 2020.

           186.   In 2011, Syngenta was selling Agrisure Viptera® for the next growing season,

2012.

           187.   Syngenta was concerned. If grain handlers like Bunge refused to take Agrisure

Viptera®, the lack of approval from China might reduce its sales.

           188.   On June 29, 2011, Syngenta’s Head of Industry Relations warned several

Syngenta executives:

                  All, just want to continue to let you know the questions about
                  MIR162 continue to increase Both on EU and China. Today at
                  NGFA meeting [a Cargill executive] said his export business is
                  really wound up about China and MIR162 not being approved. I
                  predict we are going to have some rough water around MIR162
                  until China and EU are approved.

Email from Jack Bernens to Charles Lee, Sarah Hull, and David Morgan dated June 29, 2011.

           189.   On July 1-5, 2011, Syngenta’s Sarah Hull and others exchanged emails that grain

exports were beginning to erect signs announcing their refusal to accept Viptera® from growers

because of the threat posed by the lack of approval from China. See Email from Jack Bernens to

Sarah Hull, David Morgan, and Charles Lee dated July 1, 2011 (“The signs are starting to go

up!”); Email from Sarah Hull to Ponsi Trivisvavet dated July 5, 2011. Syngenta’s management

team had been in meetings with representatives from China, and acknowledged the risk. See

Emails between Andrew McConville, Sean Wang, and Sarah Hull dated July 4, 2011.

           190.   On July 2, 2011, Syngenta’s Head of Industry Relations sent an email to Syngenta

management, stating: “[A]s you know I have been warning of this pending potential




509985.1                                         48
     Case 2:17-cv-02022-JWL-JPO Document 1-1 Filed 12/20/16 Page 53 of 103




development for some time . . . China has become a substantial market and we could see this was

going to happen.” Email from Jack Bernens to Grant Ozipko dated July 2, 2011.

           191.   Syngenta also knew by July 2011 that China would not change its zero-tolerance

policy. On July 5, 2011, Syngenta’s head of Corporate Affairs China informed the management

team: “With regard to the MoA officials . . . they reiterated . . . that at present stage, MoA will

not change the GMO safety certificate (for processing) issuing system.” Email from Wang Sean

to Andrew McConville and others dated July 5, 2011.

           192.   Syngenta, however, chose not to inform growers and the grain industry of the

growing danger. Instead, it crafted a plan to mislead grain handlers and growers to believe that

Syngenta would have import approval from China by the time Viptera® was harvested despite

all indications to the contrary. The purpose of this plan was to sell more Viptera®.

           193.   On July 5, 2011, Sarah Hull emailed:

                  Not sure on the approval timeline . . . We get daily questions from
                  the other grain traders about China and EU (Brazil trade) approvals
                  . . . Most important is that we get them comfortable that the
                  approval is close so they don’t not only tell farmers not to bring
                  their 162 varieties to them but also not to buy the varieties for
                  planting next year.

Email from Sarah Hull to Ponsi Trivisvavet dated July 5, 2011.

           194.   United States Grains Council President, Tom Dorr, in a memorandum dated

August 2, 2011 to “Seed Technology Members” and emailed to Syngenta, stated that ‘the current

situation regarding the commercialization of unapproved events in China has raised industry-

wide concern about potential near and longer-term disruption to US corn exports in China.” In

the same memorandum, he referred to China as a “major corn importer.”

           195.   By at least early July 2011, Syngenta was already managing its message and had

scripted its responses.



509985.1                                          49
     Case 2:17-cv-02022-JWL-JPO Document 1-1 Filed 12/20/16 Page 54 of 103




           196.   Among other things, Syngenta launched a “blame the grain trade” campaign. On

July 7, 2011, Syngenta’s Sarah Hull stated:

                  Channeling is exactly what these guys [grain handlers] need to
                  accept as the way forward in general. Will be interesting to hear
                  what Cargill says since they feel they are better at managing
                  logistic challenges than anyone else. I think we have to find the
                  right balance of making this a 162 problem versus an evolutionary
                  challenge of global grain trade and adjust our actions to reflect the
                  latter.

Email from Sarah Hull to David Morgan and others dated July 7, 2011.

           197.   Syngenta remained focused on its bottom line. Addressing a suggestion that

Syngenta work “with the grain channel to avoid issues with introductions of new trait

technologies,” a Syngenta executive responded: “(you don’t need to spend a lot of time on it)

but what may not have been driven home yet is how much this potentially will cost Syngenta,

how much the China thing has and IS costing Syngenta, and what it’s done to sales/field

perceptions.” Email exchange between Jill Wenzel and John Fisher dated October 12, 2011.

           198.   Syngenta internally communicated its “Yields Without Borders Program” and its

“Top 10 Tactics to Energize Sales Force and Leverage Grain marketing Channel to Secure

Sales.” See Syngenta document entitled “The Role of Grain marketing for Future Trait

Technologies.” Part of this program was to provide regular (and misleading) updates “on

progress and plans for China trait approval and to drive trait acceptance.” Id.

           199.   This was in response to, among other things, complaints by producers that they

were not informed properly about issues with Agrisure Viptera® when they ordered seed. Id.

           200.   Syngenta’s goal was, among other things, to develop a “strategy moving forward

to neutralize grain-marketing related barriers to acceptance of Agrisure Viptera.” Id.




509985.1                                           50
     Case 2:17-cv-02022-JWL-JPO Document 1-1 Filed 12/20/16 Page 55 of 103




           201.   Syngenta’s objectives included “introduction of new trait technologies to

maximize IP [intellectual property] protection window and realize income sooner on R&D

investment” and to address Syngenta’s “black eye” in regard to “issues of technology acceptance

and grain marketing.” Id.

           202.   In order to encourage further sales and planting of Agrisure Viptera®, Syngenta,

by at least August 2011, was representing to stakeholders, including corn growers, that Syngenta

would obtain China’s approval by March 2012. See, e.g. Syngenta Letter to Viptera Growers

dated August 17, 2011 (stating “we are still awaiting import approval from China, which we

anticipatate in late March 2012” and that Chinese approval is “expected late March 2012”).

           203.   As   one   of   Syngenta’s    business   partners   observed:   “communication,

communication, communication, over and over to growers is needed, even if it is repetitious

information is needed to hold Agrisure Viptera orders . . . [and to create] pull through interest in

seeds tock orders for planting the 2013 crop. If we say March enough, there should be no issue

in ordering seed stock and seed companies will have confidence in the March date.” Email from

Don Kestel dated November 30, 2011.

           204.   Syngenta, however, did not have a reasonable basis to believe that approval from

China would be received in March 2012 and did not itself expect approval by that time.

           205.   On July 8, 2011, the Head of Syngenta’s Southeast Asian Territory wrote to

Syngenta’s Head of Corn for North America:

                  Viptera China: I’m really concerned whether Q1/Q2 2012 is still
                  achievable. Could we talk on this still?

Email from Trivisvaret Ponsi to Charles Lee dated July 8, 2011.

           206.   Indeed, Syngenta’s approval submissions to China included insufficient, incorrect

and/or incomplete information, resulting in multiple additional submissions, and also included



509985.1                                         51
      Case 2:17-cv-02022-JWL-JPO Document 1-1 Filed 12/20/16 Page 56 of 103




significant delays by Syngenta in providing standard information. For example, Syngenta did

not submit PCR detection methods until January 10, 2011, and had to redeliver the PCR

detection method on May 16, 2011, because the first submission was unclear. This information

was a required precursor to testing in China, which may take – and is expected to take – months.

On June 22, 2011, Syngenta sent a letter of correction regarding mislabeling of samples. Testing

did not begin in China until June 24, 2011. Testing results are known requirements of completed

applications. Even after an application is complete, review and deficiency notices, requiring

correction, are not atypical but expected.

           207.   In a July 6, 2011 email to Syngenta Executive Charles Lee, Lisa Zannoi admitted:

“We had a year delay due to an internal restriction on shipping seeds to China needed to start the

field testing.” Email from Zannoni to Lee dated July 6, 2011.

           208.   Before, but at least as of July 2011, Syngenta knew it could not expect approval

by March 2012.

           209.   Syngenta’s own employees recognized that approval would take significantly

longer.

           210.   Brian Walsh emailed Katie Gutzmann on July 1, 2011 that Agrisure Viptera®

would not receive import approval from China “for a few years yet.” Email from Brian Walsh to

Katie Gutzmann dated July 1, 2011, Mr. Walsh continued: “The good news is that most of

Monsanto’s new traits aren’t approved either . . . All other major countries approved Viptera.”

Id.

           211.   In further discussion on this topic on July 5, 2011, Quinn Showalter asked: “Do

you have any insights regarding when [Monsanto] might get approval . . . If they aren’t being

restricted by [Consolidated Grain and Barge], it may be due to an anticipated approval vs. ours




509985.1                                         52
     Case 2:17-cv-02022-JWL-JPO Document 1-1 Filed 12/20/16 Page 57 of 103




which I believe is anticipated in 2014.” Email from Quinn Showalter to Araba Miloud dated

July 5, 2011.

           212.        Syngenta received field trial and safety test results in October and November

2011, respectively. Syngenta submitted these results in a now-completed application on

November 9, 2011. At that point also, Syngenta knew or clearly should have known that it

would not have approval by March 2012.

           213.        As of May 2012, China’s Ministry of Agriculture had reviewed Syngenta’s

application and had rejected it for deficiencies including all applicable safety analyses. Syngenta

submitted another application in June 2012.

           214.         In addition, on information and belief, Syngenta sought approval to cultivate

MIR162 in, as well as import MIR162 to China. See Reuters “Update 1 – Syngenta confirms it

applied           to       cultivate    GMO        corn     in     China”     (Oct.     8,     2014)

(http://www.reuters.com/article/2014/10/08/china-gmo-syngenta-idUSL3N0S317520141008).

See also APAC Regulatory Strategy for Cultivation Approval dated January 19, 2009.

           215.        Upon information and belief, China has more severely restricted the right to

cultivate bio-engineered crops than to import them, has not previously allowed any such

cultivation by a foreign firm without Chinese participation, and has taken significantly longer to

approve cultivation applications than importation applications, all of which may have materially

delayed import approval.

           216.        Syngenta was projecting that cultivation approval would not be obtained until

2016. See APAC Regulatory Strategy for Cultivation Approval dated January 19, 2009.

           217.        Syngenta continued to downplay the importance of China and misrepresent the

status of China’s approval for the purpose of increasing sales of Agrisure Viptera®.




509985.1                                             53
     Case 2:17-cv-02022-JWL-JPO Document 1-1 Filed 12/20/16 Page 58 of 103




           218.   Syngenta was far more focused on a potential loss of profits than it was on the

risk of trade disruption caused by Agrisure Viptera®.

           219.   Syngenta was analyzing the potential that Viptera® purchasers might return seed,

and was looking at its prior experience in 2007 when it commercialized MIR604 prior to Japan

approval. See Email from John Fisher to Jack Bernens and others dated November 9, 2011.

Syngenta’s Product Lead for Commercial Traits took glee at the fact that a U.S. seed shortage

would work in Syngenta’s favor, forcing growers to “roll the dice” with Viptera

                  One heads-up from today’s Agrisure Viptera core team call –
                  approx. 750,000 of our approx. 1MM units are already ordered and
                  we anticipate the remainder will be ordered by year’s end. The
                  industry- wide short supply of seed will work in our favor. . . .
                  Hence key business issue is more the black-eye we now have, vs.
                  actual impact on sales. . . .

                  The issue will be if they [growers] return it, they likely won’t
                  be able to replace it. Poor things will have to roll the dice.

Email from Jill Wenzel to John Fisher and Jim Gresham dated November 11, 2011.

           220.   As Syngenta continued to make its misrepresentations and the presence of

Agrisure Viptera® continued to spread, so did the risk of contamination of the U.S. corn supply

with MIR162 – and the risk of market disruption. And Syngenta knew it. On July 11, 2011,

Syngenta’s Head of Global External Affairs, Sarah Hull, emailed other Syngenta executives

regarding a plan devised with Syngenta’s Michael Mack, to convince China to speed up its

approval. Mr. Mack “want[ed] the Chinese to know that every ship carrying corn into China this

fall will have 162 in it at some level.” Email from Sarah Hull to Charles Lee (cc: David Morgan)

dated July 8, 2011. Ms. Hull asked for information to verify numbers supporting that message:

                  I need to pull some numbers together to make this a fact-based
                  argument and wondered who could help me.




509985.1                                         54
     Case 2:17-cv-02022-JWL-JPO Document 1-1 Filed 12/20/16 Page 59 of 103




                  We know that US plantings of [MIR]162 = 540,000 bags,
                  representing 1.6% of the total corn market. I assume this is
                  consistent with your citing ¼ billion bushels of Viptera grain is in
                  fields today, but will you verify these facts? Id.

           221.   Ms. Hull acknowledged that (contrary to earlier representations to the USDA that

MIR162 could be effectively channeled like specialty maize), the ability to channel in a “closed

loop” system is much different than a commodity crop. She noted: “I know we need to be

careful not to undermine our position that we can successfully grow products in closed loop

systems such as Enogen [corn developed by Syngenta for ethanol production], but I think we

have to do what we can to get China to speed up this review. Id.

           222.   The plan was for Syngenta to compare prior Syngenta contamination incidents

(MIR604 and Bt10 corn) with the presence of MIR162 in the U.S. corn supply in order to show

with dispersion modes “that under 0 tolerance even very little in the system had extensive hits.”

This, Ms. Hull said, should convince U.S. Government officials to convey to Chinese officials

the need to approve MIR162 “or put US corn trade at serious risk.” Id.

Syngenta’s Continued Deception Regarding China’s Approval Of MIR162

           223.   Syngenta continued its deception regarding the status of approval from China

throughout 2012.

           224.   Despite knowing that its incomplete and delayed regulatory filings with China

assured that Syngenta would not obtain import approval for Viptera by March 2012, Syngenta

nevertheless instructed employees to tell grain handlers: “We are still on schedule to obtain

approval from China by March of 2012 . . . we have not received any indication that China

approval will be delayed.” Email from March Sather dated January 2, 2012.

           225.   After the first quarter of 2012 had passed without approval from China, Syngenta

told its employees to “verbally” (emphasis in original) communicate that Syngenta “continue[s]



509985.1                                          55
     Case 2:17-cv-02022-JWL-JPO Document 1-1 Filed 12/20/16 Page 60 of 103




to anticipate that this approval will be received shortly.” Email from Lori Thomas to DL

NAFTA list serve et al., dated April 8, 2012.

           226.   On or about April 10, 2012, Sarah Hull emailed Rex Martin, Syngenta’s

representative to the U.S. Grains Council, stating: “We need to get some indication to growers

or [NCGA] that China Viptera approval is done and is only waiting for the administrative

signatures . . . David [Morgan] and Chuck [Lee] said growers are starting to return seed and we

need to try to stop this.” Email from Sarah Hull to Rex Martin dated April 10, 2012 (emphasis

added).

           227.   About a week later, during Syngenta’s first quarter 2012 earnings conference call

on April 18, 2012, Syngenta’s Chief Executive Officer, Michael Mack, publicly stated that he

expected China to approve Agrisure Viptera® “quite frankly with in the matter of a couple of

days.”      http://www.morningstar.com/earnings/37715637-syngenta-ag-adrsyt-q1-2012-earnings-

call-transcript.aspx. This, of course, was a year after Syngenta had already sold large quantities

of Agrisure Viptera® to farmers across the country.

           228.   On information and belief, however, Syngenta did not as of April 2012 have a

reasonable basis for a belief that China’s approval was “done,” or its representation that approval

was imminent. Syngenta certainly did not have any sort of official approval at this juncture.

           229.   Indeed, Syngenta received a rejection and deficiency letter from China’s Ministry

of Agriculture on May 15, 2012.

           230.   Syngenta also distributed misleading written materials indicating that Agrisure

Viptera® could be exported to China.

           231.   For example, Syngenta distributed a “Request Form for Bio-Safety Certificates

Issued by the Chinese Ministry of Agriculture” for Agrisure Viptera®. In China, “Bio-Safety




509985.1                                         56
     Case 2:17-cv-02022-JWL-JPO Document 1-1 Filed 12/20/16 Page 61 of 103




Authorizations” are required for the issuance of shipment-specific “Bio-Safety Certificates.”

However, applying for shipment-specific Bio-Safety Certificates was and is pointless because

MIR162 has not been approved for importation in China.

           232.     Syngenta knew that its Request for Bio-Safety Certificates Forms was pointless

but distributed it in an effort to mislead U.S. farmers.

           233.     Syngenta also distributed a “Plant with Confidence Fact Sheet,” which contains

deceptive         statements   regarding    the   importance    of   China    as   an    export   market.

http://www.syngenta-us.com/viptera_exports/images/Agrisure-Viptera-Fact-Sheet.pdf.                   For

example, the “Plant with Confidence Fact Sheet” states:

                    The vast majority of corn produced in the U.S. is used
                    domestically. There is a misconception that China imports more
                    grain than it actually does from the U.S. China has imported, on
                    average, a little more than half of one percent – 0.5% – of all U.S.
                    corn produced in the past five years. . . .

                    Since very few U.S. grain outlets actually export to China, most
                    have no reason to restrict your right to plant the latest technologies.

http://www.syngenta-us.com/viptera_exports/images/Agrisure-Viptera-Fact-Sheet.pdf (emphasis

removed).

           234.     Contrary to the Plant with Confidence Fact Sheet, the NGFA reports:

                    The U.S. Department of Agriculture (USDA) forecasts that China
                    will become the world’s largest corn importer by 2020. China is
                    projected to increase its corn imports to 22 million metric tons
                    (866 million bushels) by 2023, up from 2.7 million metric tons
                    (106 million bushels) in 2012. For 2013, USDA had projected that
                    the United States would export 37 million metric tons (1.457
                    million bushels) of corn, and that China would import an estimated
                    7 million metric tons (276 million bushels) – virtually all of it from
                    the United States.




509985.1                                              57
     Case 2:17-cv-02022-JWL-JPO Document 1-1 Filed 12/20/16 Page 62 of 103




http://www.ngfa.org/wp-content/uploads/NGFA-Flyer-for-Farmer-Customers-on-Potential-

Market-Impacts-of-Commercializing-Biotech-Enhanced-Seeds-Not-Approved-for-Import-into-

U.S.-Export-Markets.pdf.

           235.   In other words, for 2013, the USDA estimated that China represented nearly 20%

of the U.S. export market.

           236.   Prior to China’s discovery in November 2013 of MIR162 in U.S. corn shipments,

China was the third largest market for U.S. corn and China’s share of our market was projected

to grow substantially. China is by far the largest potential growth market for U.S. corn.

Syngenta Continued To Expand Sales Of Agrisure Viptera® Acreage Despite No Approval
from China And While The Importance Of The Chinese Market Continued To Increase

           237.   China continued to be a major and growing market for U.S. corn and corn

products during the 2012 and 2013 crop years.

           238.   However, during that period, China still had not yet approved the import of

MIR162.       Syngenta was still in the approval process, and correcting deficiencies identified by

the Ministry of Agriculture. It had no assurance that approval would be conferred by the 2013

crop year. In fact, as October 2013, Syngenta was still completing required research for its

application.

           239.   Corn industry groups continued to object to Syngenta Seeds’ commercialization

of Agrisure Viptera®.

           240.   In fact, during 2012/13, China had become the third largest export market for U.S.

corn. As reported by the Iowa Corn Growers Association, “[i]n 2012/13, China was the third

largest export market for U.S. corn and up until the recent issue [the rejections beginning in

November 2013] [China] was on track to meet or exceed that position.” China and MIR162, 2-

2014, Iowa Corn Growers Association, Feb. 6, 2014.



509985.1                                          58
     Case 2:17-cv-02022-JWL-JPO Document 1-1 Filed 12/20/16 Page 63 of 103




           241.     Nevertheless, Syngenta continued to market Agrisure Viptera® during the 2012

and 2013 crop years. Estimates were that during this period Syngenta had increased the market

share of its Agrisure Viptera® corn to well more than 2%, and, by some estimates as high as

3.5%, of the corn area grown in the U.S. Christensen, “Viptera Could Have Been Approved for

Importation Into China, But Was Not,” Seed in Context Blog, April 13, 2014

(http://www.intlcorn.com/seedsiteblog/?p=1891).

           242.     This increase further assured that Agrisure Viptera® would disseminate

throughout the U.S. corn supply and that it could not – and would not – be channeled away from

export markets, such as China, which had not approved MIR162.

Regulation, Testing And Deregulation Of Event 5307

           243.     On April 22, 2011, just months after Syngenta Seeds had released Agrisure

Viptera® for the 2011 crop year, Syngenta filed with APHIS a petition seeking the deregulation

of another insect resistant, genetically modified trait known as Event 5307. Event 5307 was

ultimately deregulated by APHIS on January 29, 2013.

           244.     Between 2005 and 2011, Syngenta conducted at least 101 field trials of Event

5307 corn under at least 22 notifications made to APHIS under the GMO Regulations at sites in

23 states.

           245.     Upon information and belief, at least some of the field trials of Event 5307

included tests of corn stacked with multiple traits, including the presence of both Event 5307 and

MIR162.           Further, upon information and belief, field tests conducted under the GMO

Regulations of Event 5307, either singly or together with other traits, including MIR162,

continued during the period after the filing of the Event 5307 Deregulation Petition and the

January 29, 2013 decision to deregulate Event 5307.




509985.1                                         59
     Case 2:17-cv-02022-JWL-JPO Document 1-1 Filed 12/20/16 Page 64 of 103




           246.   In its deregulation petition for Event 5307, Syngenta disclosed that upon

deregulation of Event 5307, Syngenta Seeds did not intend to market Event 5307 as a stand-

alone product, but intended to combine it with other traits, including MIR162. It also stated that

it intended to seek approval of products containing Event 5307 in countries which had

functioning regulatory systems and that “Syngenta is also pursuing regulatory approvals for

importation of corn commodities and processed goods containing 5307 corn in key export

markets for U.S. and Canadian corn” and that applications were currently planned for a number

of additional countries, including China.     In the discussion of “Adverse Consequences of

Introduction,” Syngenta stated that an upcoming Environmental Report would discuss a range of

issues related to the deregulation of Event 5307 corn, “including any potential direct, indirect or

cumulative impacts on . . . the economy, either within or outside the U.S.”           Petition for

Determination of Nonregulated Status for Rootworm-Resistant Event 5307 Corn, April 22, 2011,

at 156 (http://www.aphis.usda.gov/biotechnology/petitions_table_pending.shtml).

           247.   Following approval of Event 5307, Syngenta Seeds announced that it would

commercialize its Agrisure Duracade™ for the 2014 crop year containing both Event 5307 and

MIR162, despite the continued failure to obtain approval from China for MIR162 and the fact

that Event 5307 also had not been approved.

Commercialization Of Agrisure Duracade™ Despite MIR162’s Continued Disruption Of The
U.S. Corn Trade

           248.   In November 2013, China began rejecting shipments of U.S. corn which tested

positive for the presence of MIR162. Syngenta has, nevertheless, continued its false statements

and misrepresentations, as alleged herein, including through its decision to market for the 2014

crop year Agrisure Duracade ™.




509985.1                                        60
     Case 2:17-cv-02022-JWL-JPO Document 1-1 Filed 12/20/16 Page 65 of 103




           249.   The National Grain and Feed Association has detailed the disastrous results of

China’s rejection of U.S. corn based upon the presence of MIR162:

                  This development resulted in a series of trade disruptions –
                  including testing; delays in vessel discharge; and deferrals,
                  diversion and rejections of cargoes – when MIR162 subsequently
                  was detected in U.S. shipments of corn and distillers dried grains
                  with solubles (DDGS). These disruptions effectively shut U.S.
                  corn farmers out of China’s feed grain import market, which
                  previously almost exclusively had been supplied by the United
                  States. China subsequently has taken actions to utilize
                  domestic, as well as international alternatives to U.S. corn. For
                  instance, China’s imports of U.S. grain sorghum have
                  increased significantly. China also has sourced corn from
                  Ukraine. And most recently, Brazil and Argentina each were
                  granted approval to begin exporting corn to China. . . .

                  This disruption, tied to positive detections of MIR 162 that began
                  in November 2013, has virtually halted U.S. corn trade with China.
                  ....

                  USDA currently is projecting Chinese corn imports will reach 22
                  mmt [million metric tons] by 2023, which if realized would
                  account for nearly half of the projected growth in total world corn
                  trade. However, if the MIR 162-related trade disruption
                  continues, other corn exporting nations, such as Ukraine, are
                  capable of replacing the United States as the principal corn
                  exporter to China. . . .

                  [T]he MIR 162-induced trade disruption has resulted in market
                  price loss on unfulfilled export sales, price loss on diverted sales
                  because of the compromised economic negotiating position of U.S.
                  exporters, demurrage costs, and lower market prices for U.S.
                  commodities and products. The total loss for these sectors of the
                  U.S. grain industry is estimated to range from $1 billion to $2.9
                  billion.

http://ngfa.org/wp-content/uploads/Agrisure-Viptera-MIR-162-Case-Study-An-Economic-

Impact-Analysis.pdf (emphasis added).

           250.   Syngenta nevertheless moved forward with commercialization of Agrisure

Duracade™ for the 2014 planting season.




509985.1                                          61
     Case 2:17-cv-02022-JWL-JPO Document 1-1 Filed 12/20/16 Page 66 of 103




           251.   On January 23, 2014, the National Grain and Feed Association and the National

American Export Grain Association issued another Joint Statement imploring Syngenta to stop

its heedless and irresponsible commercialization:

                  On Jan. 22, 2014, the National Grain and Feed Association
                  (NGFA) and North American Export Grain Association (NAEGA)
                  sent a letter to Syngenta asking the company to immediately halt
                  commercialization in the United States of its Agrisure Viptera®
                  corn and Agrisure Duracade™ corn until such time as China and
                  certain other U.S. export markets have granted required regulatory
                  approvals/authorizations.

                  The NGFA and NAEGA . . . are gravely concerned about the
                  serious economic harm to exporters, grain handlers and, ultimately,
                  agricultural producers – as well as the United States’ reputation to
                  meet its customers’ needs – that has resulted from Syngenta’s
                  current approach to stewardship of Viptera. Further, the same
                  concerns now transcend to Syngenta’s intended product launch
                  plans for Duracade, which risk repeating and extending the
                  damage. Immediate action is required by Syngenta to halt such
                  damage.

                  There are numerous negative consequences incurred when the
                  Chinese and other U.S. export markets are put at risk through
                  commercialization of biotechnology-enhanced seeds before
                  approvals for import into foreign markets are obtained. Such
                  consequences may include reducing the value and demand for the
                  U.S. farmers’ products, preventing foreign consumer access to
                  much-needed supplies, shutting off or increasing the cost of U.S.
                  producers’ access to some export markets for their crops, exposing
                  exporting companies to financial losses because of cargo rejections
                  and contract cancellations, and ultimately diminishing the United
                  States’ reputation as a reliable, often-preferred supplier of grains,
                  oilseeds and grain products in world markets. Commercialization
                  prior to foreign regulatory approvals also has a negative impact on
                  the overall U.S. corn and other grain value chains, and reduces
                  significantly U.S. agriculture’s contribution to global food security
                  and economic growth.

                  Within the U.S. grain and oilseed handling and marketing system,
                  each purchaser or handler makes its own determination as to
                  whether to accept various commodity crops – including those
                  produced from biotechnology-enhanced seeds. Such a decision
                  likely is driven by customer preferences, infrastructure and



509985.1                                           62
     Case 2:17-cv-02022-JWL-JPO Document 1-1 Filed 12/20/16 Page 67 of 103




                  operational limitations, regulatory regimes and contractual
                  commitments, as well as meeting regulatory requirements in the
                  respective markets they serve. Given the nature of the U.S. grain
                  marketing system, these business decisions extend to the first point
                  of sale or transfer from the producer.

                  As a matter of policy, NGFA and NAEGA have communicated
                  consistently, clearly and in good faith with biotechnology
                  providers and seed companies about the importance of
                  biotechnology     providers    actually     obtaining   regulatory
                  approvals/authorizations for import in foreign markets before such
                  traits are commercialized in the United States. Individual grain
                  handler, processor, service provider and exporter member
                  companies of our Associations represent further system-wide
                  support and advocacy for this policy.

                  U.S. farmers, as well as the commercial grain handling and export
                  industry, depend heavily upon the exercise of due corporate
                  responsibility by biotechnology providers with respect to the
                  timing of product launch and commercialization. We therefore
                  seek assurances from Syngenta that it will follow suit by publicly
                  announcing that it will suspend immediately its commercialization
                  of Viptera and Duracade products in the United States until such
                  time as China and other U.S. export markets have granted required
                  regulatory approvals and authorizations.

http://www.ngfa.org/wp-content/uploads/NAEGA-NGFA-Joint-Public-Statement-on-Syngenta-

Agrisure-Viptera-and-Duracade-Biotech-Traits-Jan-23-2014.pdf (emphasis added).

           252.   Syngenta spokesman, Paul Minehart, responded by stating: “Changing our

marketing plan in the U.S. now would have no effect on grain in the system or Chinese

acceptance of corn imports.”       Reuters, “U.S. Groups urge Syngenta to hold back on GM corn

barred by China” (Jan. 23, 2014) (emphasis added).

           253.   This pronouncement recognizes that indeed, MIR162 has contaminated the U.S.

corn supply to an extent that it cannot be undone. This is even more true given that Syngenta

continues to market and sell Agrisure Duracade™ in addition to Agrisure Viptera®.

           254.   In March 2014, in meetings with the NGFA, Syngenta advised that its




509985.1                                          63
      Case 2:17-cv-02022-JWL-JPO Document 1-1 Filed 12/20/16 Page 68 of 103




introductory launch of Agrisure Duracade™ would likely extend to 250,000 to 300,000 acres in

a launch zone which included portions of each of the ten (10) states which grow the largest

amounts of corn. In the same meetings, Syngenta refused to accept responsibility or liability if

and when Agrisure Duracade™ becomes present in countries which had not approved it.

NGFA, Latest News, “Syngenta Provides Additional Details on Plans for ‘Introductory launch’

of         Duracade,       Biotech      Corn       in     2014”        (March        7,      2014)

http://www.ngfa.org/2014/2014/03/07/Syngenta-provides-additional-details-on-plans-for-

introductory-launch-of-duracade-biotech-corn-in-2014/.

           255.   In launching Duracade™, Syngenta stated that growers would be required to sign

a stewardship agreement requiring the grower to either feed the corn to livestock or poultry on

the farm, or deliver it to a grain handling facility, feed mill, feed lot or ethanol plant not

exporting corn or corn co-products to China or the European Union. See National Grain And

Feed Association Newsletter Vol. 66, No. 5 dated March 7, 2014 at 2.

           256.   The version of the stewardship agreement at launch, and referencing Duracade,

did not do so. See Syngenta Seeds Inc. Stewardship Agreement (Rev. 6/05/2013). This version

is,    even       now,   the    agreement      Syngenta   posts   on     its    website.       See

http://www3.syngenta.com/country/us/en/agriculture/Stewardship/Documents/SyngentaStewards

hipAgreement.pdf.

           257.   Syngenta also did not require planting or harvesting protocols, but only made

“recommendations” that the grower: (1) select fields for planting Duracade™ surrounded by the

grower’s own corn fields or planted next to a non-corn field; (2) place signs to notify others that

Duracade™ was planted in the field; (3) plant buffer rows; (4) clean planters; (5) properly

dispose of unused seed and return unopened seed units to the seed provider; (6) separately




509985.1                                         64
     Case 2:17-cv-02022-JWL-JPO Document 1-1 Filed 12/20/16 Page 69 of 103




harvest Duracade™; (7) flush the combine; (8) deliver corn containing Duracade™ to a

previously arranged delivery point; (9) store Duracade™ in a separate bin on the grower’s farm;

and (10) clean the bin floor.

           258.   Syngenta officials stated that while Syngenta would apprise growers of such

“recommendations,” it “declined to incorporate the recommendations into the stewardship

agreement because they did not want to dictate such practices to producers.” National Grain And

Feed Association Newsletter Vol. 66, No. 5 dated March 7, 2014 at 2.

           259.   Syngenta was and is well aware that such measures are minimally necessary to an

adequate stewardship program. Yet Syngenta did not require such measures in connection with

either Agrisure Viptera® or Agrisure Duracade™.

           260.   The NGFA issued a dire forecast of the damage Agrisure Duracade™’s premature

commercialization will cause:

                  For the 2014 planting season, Syngenta has introduced another trait
                  called Agrisure Duracade™ 5307 (hereafter referred to as 5307)
                  that currently lacks Chinese import approval, potentially
                  prolonging the U.S. loss of the large, growing Chinese feed grain
                  import market. . . .

                  China is roughly one year into its semi-regular, two-year process
                  of evaluating the authorization of 5307 for import in food, feed and
                  for further processing. Since Chinese authorization of 5307 is not
                  expected for at least another year, China is expected to continue
                  enforcing a zero-tolerance policy for unapproved biotech-enhanced
                  traits in 2014/15, as occurred in marketing year 2013/14 for MIR
                  162. Thus, the commercialization in the United States of 5307 is
                  expected to prolong the economic impact on U.S. corn and other
                  commodities that began in mid-November 2013.

                  Similarly to 2013/14, when the United States lost access to the
                  Chinese corn import market, the 2014/15 market price impact
                  caused by the presence of 5307 in U.S. commodity exports is
                  expected to extend beyond the corn market and potentially affect
                  other commodities, such as DDGS, soybean meal and soybeans,




509985.1                                          65
     Case 2:17-cv-02022-JWL-JPO Document 1-1 Filed 12/20/16 Page 70 of 103




                  because of the substitutability of corn for these commodities in
                  domestic feed rations. . . .

                  [A]fter accounting for projected benefits and costs, the net
                  economic impact of the 5307 commercial launch is estimated to
                  result in a loss to the U.S. grain value chain ranging from $1.2
                  billion to $3.4 billion, with a mid-point estimated net economic
                  loss of $2.3 billion.

http://www.ngfa.org/wp-content/uploads/Agrisure-Duracade-5307-Economic-Impact-

Analysis.pdf (emphasis in original).

           261.   In March 2014, Syngenta pulled Agrisure Duracade™ from the Canadian market

for the 2014 growing season because China and the European Union had not yet approved

MIR162.

           262.   Syngenta said in a notice to Canadian growers: “While the vast majority of the

Canadian corn crop is typically directed to domestic markets in North America, some corn may

be destined for these markets.” Reuters, “Syngenta halts sales of new GMO corn seed in

Canada” (Mar 10, 2014). “Accordingly, we want to ensure the acceptance of any trait technology

grown in Canada meets end-market destination requirements.” Id.

           263.   As illustrated by the statements of its own representatives and this action,

Syngenta knew that China was and is a key corn importer and that responsible management

requires that its approval be obtained before commercialization of a bio-engineered corn trait.

           264.   As further illustrated, Syngenta knows how to withdraw an unapproved GM trait

from the market when it wants to do so.

           265.   Nevertheless, Syngenta continued, and continues, to market and sell MIR162 corn

in the United States.




509985.1                                         66
     Case 2:17-cv-02022-JWL-JPO Document 1-1 Filed 12/20/16 Page 71 of 103




           266.   Compounding its irresponsibility, Syngenta then decided to commercialize

Agrisure Duracade™ in 2014, even though it contains MIR162, and also contains another

genetic trait, Event 5307, not approved by China or other major purchasers of U.S. corn.

           267.   In September 2014, Syngenta announced 52 new corn hybrids for the 2015

growing season. MIR162 was in 23 new Agrisure Viptera® products and 18 new Agrisure

Duracade™ products. See “Syngenta Announces 52 New Corn Hybrids for 2015 Season,” Sept.

17, 2014 (http://www.agprofessional.com/news/Syngenta-announces-52-new-corn-hybrids-for-

2015¬season-275494841.html)

           268.   In December 2014, China finally approved MIR162 for importation into China.

By then, however, Syngenta already had begun commercializing yet another GMO corn seed

product as discussed above. In addition, China’s December 2014 approval is not likely to lessen

the impact of Syngenta’s conduct anytime soon.

           269.   Syngenta affirmatively and purposefully engaged in all the actions and inactions

described above in order to increase its own profits, ignoring the tremendous risks its profit-

driven strategy imposed upon U.S. corn farmers and others.

           270.   Syngenta knew, or should have known, prior to its commercialization of Agrisure

Viptera® and at all times since then of the high likelihood that Agrisure Viptera®, would

contaminate the U.S. corn supply and that channeling in the circumstance of its clearly

inadequate “stewardship” program would not work.         As such, it was inevitable that Viptera®

corn would move into export channels, including China, and cause trade disruption, as Syngenta

well knew.




509985.1                                         67
     Case 2:17-cv-02022-JWL-JPO Document 1-1 Filed 12/20/16 Page 72 of 103




           271. Syngenta’s acts and omissions have resulted in the pervasive contamination of the

U.S. corn supply, including fields, grain elevators and other facilities of storage and transport,

causing physical harm to Plaintiff’s corn, harvested corn, equipment, storage facilities, and land.

           272.   The likelihood that Agrisure Viptera® -- and Duracade™ -- would (and will

continue to) contaminate the U.S. corn supply was readily foreseeable to, and indeed foreseen

by, Syngenta, as was the harm to corn farmers, who Syngenta describes as among its

stakeholders “affected by” Syngenta’s business.

           273.   Syngenta had the right and ability to control the timing, size, and geographic

 scope of its commercialization of Agrisure Viptera® and Duracade™, as well as the extent to

 which adequate containment measures would be required of its customers. Syngenta also could

 have instituted channeling measures but did not. Syngenta also ignored repeated warnings from

 stakeholders and misrepresented and concealed material information, all to further its own

 profit.

           274.   Syngenta did not simply fail to take precautions against foreseen and at minimum,

clearly foreseeable harm, but acted affirmatively to create it.

           275.   Syngenta’s conduct has directly caused and contributed to cause significant

economic harm to farmers and other participants in the corn industry as explained below.

Economic Impact

           276.   The characteristics of the world corn market have important implications for

understanding the market price impact of the Chinese MIR162 ban on corn and corn products

from the United States. Those include:

                  a.     Corn is the most widely used feed grain in the world.

                  b.     The United States is by far the largest producer and exporter of corn.




509985.1                                          68
     Case 2:17-cv-02022-JWL-JPO Document 1-1 Filed 12/20/16 Page 73 of 103




                  c.     Prior to the import ban, virtually all of China’s corn imports were from the
                         United States.

                  d.     Prior to the import ban, China was the third largest market for U.S. corn
                         exports.

                  e.     The latest U.S. Department of Agriculture (USDA) agricultural trade
                         projections placed China as becoming the world’s largest importer of corn
                         by 2020.

                  f.     The MIR162 import ban virtually halted U.S. corn sales to China
                         indefinitely.

                  g.     The world price of corn is established in Chicago and the loss of a key
                         market for the U.S. puts downward pressure on the world price that
                         reverberates to farmgate prices throughout the United States.

                  h.     Corn is a commodity and a relatively small change in the global volume of
                         trade in a commodity market like corn will have a magnified price impact.

                  i.     An exporter’s reputational loss in an agricultural commodity market due to
                         an event like a GMO contamination can persist for many years. Once an
                         exporter has lost a foreign market, it is difficult to get it back.

Global Corn Market

           277.   World corn production totaled 983.3 million metric tons (mmt) in 2013/14 (about

38.7 billion bushels). This supply was concentrated in a relatively small number of countries.

The world’s largest corn producers are the United States with about 36% of global production in

2013/14, China (about 22% of production), Brazil (8%), and the EU (7%).

           278.   Global usage of corn has expanded by about 37% in the last decade, due to rising

population and incomes, and increased urbanization with its associated changing dietary patterns.

Feed usage accounts for about 58% of total global corn use, industrial use 27%, and food 11%.

The pie chart below shows corn consumption by region.




509985.1                                          69
     Case 2:17-cv-02022-JWL-JPO Document 1-1 Filed 12/20/16 Page 74 of 103




           World Corn Consumption By Region




                         USA
                         30%                      Others
                                                   32%




                      Brazil
                       6%

                               EU
                               8%         China
                                          24%




           Source: International Grains Council

           279.   At the end of each crop year, corn inventories are carried forward in case of a

short harvest. The United States and China are the largest holders of corn inventories. At the end

of 2013/14, these two countries held 70% of the 176 mmt of global stocks.

           280.   Total world corn trade is about 100 to 120 mmt per year. Prior to the MIR162

ban, China was importing about 4% of global corn sales. That amount was projected by the

USDA to increase substantially by 2020, when the USDA projects that China will be the world’s

largest importer of corn at 16 million metric tons.




509985.1                                          70
     Case 2:17-cv-02022-JWL-JPO Document 1-1 Filed 12/20/16 Page 75 of 103




           281.   The United States is the dominant exporter of corn. The big exporters include the

U.S. (36% of world trade), Brazil (20% of exports), the Ukraine (17%), and Argentina (10%).

These 4 countries alone account for over 82% of global exports.


Table: Major Corn Exporters: July 2013/ June 2014
Exporting          U.S.       Brazil     Ukraine Argentina       Others      Total
Country
Exports            42.8        23.5        19.9         12.0       21.8      120.0
(million
metric
tons)
Exports            1,685       925         783          472         858      4,724
(million
bushels)
           Source: International Grains Council




509985.1                                          71
     Case 2:17-cv-02022-JWL-JPO Document 1-1 Filed 12/20/16 Page 76 of 103




           282.   Just over 10 years ago China was a significant exporter of corn (as well as all

grains), with exports peaking at 15.2 million metric tons in 2002/03. China flipped from being a

corn exporter to a corn importer in 2009/2010.




           283.   As the chart below shows, China turned from a net exporter to a net importer of

grains in 2008. Imports of grains (including corn) surged during the 2012-13 time period,

reaching 18 mmt. Most of this grain originated from the United States.




509985.1                                         72
     Case 2:17-cv-02022-JWL-JPO Document 1-1 Filed 12/20/16 Page 77 of 103




           284.   The import side of the international trade equation is more diverse, with the major

importers including the EU, Japan, Mexico, South Korea, Chinese Taipei, China and Turkey

(together accounting for 55% of imports in 2013/14). This leaves 45% of the corn imports

destined for a large number of small importers.

           Major Corn Importers




           Source: International Grains Council.



509985.1                                           73
     Case 2:17-cv-02022-JWL-JPO Document 1-1 Filed 12/20/16 Page 78 of 103




           285.   In its annual long-term grain trade projections, released in February 2014, the

U.S. Department of Agriculture projected that China’s corn imports would grow from 2.7 mmt in

2012/13 to 22 mmt in 2023/24. China is by far the largest potential growth market for U.S. corn.

These projections place China as the largest corn importer in the world by 2020.

U.S. Corn Market

           286.   Corn is the largest crop in the United States, measured either by value of

production or planted acres. In the 2013/14 September-August fiscal year, U.S. corn growers

produced about 13.9 billion bushels of corn, worth more than $60 billion. Corn is used for

livestock (primarily cattle, hogs, and chickens) feed (37% of 2013/14 crop), food, alcohol and

industrial usage (46% of the 2013/14 crop) and exports (14% of the 2013/14 crop). U.S.

Department of Agriculture, Economic Research Service, Feedgrains Yearbook, Table 4,

http://www.ers.usda.gov/data-products/feed-grains-database.aspx#.VEJk-SiwRzo.

           287.   Corn production in the United States is concentrated in the neighboring

Midwestern states comprising the “corn belt,” where soil and climatic conditions are highly

conducive to growing corn.1 About 95.4 million acres were planted in corn in the United States

in the September-August 2013/14 marketing year.

           288.   Corn prices throughout the United States are tied to the Chicago Board of Trade

Futures (CBOT) price through the “basis” (defined as the futures price minus the local cash

price). The U.S. corn market is spatially integrated and informationally efficient. Basis levels for

spatially separated markets are also closely linked. Events like trade disruptions that affect the

CBOT corn prices directly affect the price that U.S. corn farmers receive for their corn.

1
  There are alternative definitions of exactly which states make up the “corn belt.” The top ten
producing states are Iowa, Illinois, Nebraska, Minnesota, Indiana, South Dakota, Wisconsin,
Kansas, Ohio and Missouri.



509985.1                                         74
     Case 2:17-cv-02022-JWL-JPO Document 1-1 Filed 12/20/16 Page 79 of 103




China’s Corn Market

           289.   China has emerged as a large player in the global market for agricultural products.

As of 2012 it was the fourth largest exporter and second largest importer of agricultural products

in the world, according to World Trade Organization trade statistics. Its import growth has been

driven by a shift in its domestic production mix, and changing consumer diets with rising

incomes and urbanization. The changing diets have especially driven strong demand growth for

meat (mainly pork and chicken), which requires a large supply of feed grains including corn and

distillers’ dried grains with solubles (DDGS), a byproduct of corn ethanol production, and

soybeans.

           290.   China is the now largest foreign market for U.S. agricultural products. The U.S.

Department of Agriculture (USDA, Outlook for U.S. Agricultural Trade, AES-83, August 28,

2014) reports that U.S. agricultural exports to China have almost doubled in the last five years,

totaling $28 billion in fiscal Oct. 2013-Sept. 2014.

           291.   Prior to the U.S. corn import ban, the top three U.S. agricultural exports to China

(in order of importance) were soybeans, cotton, and corn, based on value of trade. In November

2013, China started turning back cargoes containing Syngenta’s MIR162 biotech corn. While

MIR162 is now approved, Event 5307 is not.

           292.   U.S. corn exports to China reached 5.146 mmt in 2011/12 (approximately 13% of

U.S. exports that Sep-Aug marketing year) and were 2.39 mmt in 2012/13–still about 13% of

exports (lower export volume due to the big U.S. drought). By contrast, due to the China import

ban of U.S. corn beginning in November 2013, the absolute volume of U.S. corn exports to

China in 2013/14 was not much higher than the drought year, and fell to less than 6% of exports.




509985.1                                          75
     Case 2:17-cv-02022-JWL-JPO Document 1-1 Filed 12/20/16 Page 80 of 103




If the current trend that began after November 2013 continues, U.S. corn exports to China in

2014/15 and beyond will be negligible.

           293.   The following graph shows the dramatic difference in accumulated U.S. exports

to China after the MIR162 ban, taking into account seasonal variations in export quantities.




           294.   If access to the China market continues to be denied to U.S. corn imports, the

losses will be even more significant and will continue to grow. As the following quote explains,

China was expected to be a very rapidly growing import market for corn.

                  “China’s corn imports are projected to rise steadily and reach 22
                  million tons by 2023/24. China’s strengthening domestic demand
                  for corn is driven by structural change and growth in its livestock
                  sectors, as well as by rising industrial use. The increase in China’s
                  imports accounts for nearly half of the projected growth in world
                  corn trade.” USDA Long-Term Projections Feb. 2014, p. 20.

USDA Agricultural Projections to 2023, www.usda.gov/oce/commodity/projections/.




509985.1                                           76
     Case 2:17-cv-02022-JWL-JPO Document 1-1 Filed 12/20/16 Page 81 of 103




           295.   For fiscal year 2013/2014 China was expected to import 7 mmt of corn and 6 mmt

in 2014/15. Since the news of the rejected cargoes surfaced, U.S. Department of Agriculture

analysts have lowered projections of China’s total annual imports from 7 to 3.5 mmt in 2013/14

and from 6 to 3 mmt for 2014/15. These projections obviously reflect the assumption that U.S.

corn trade with China will begin again sometime in 2014/15. If that does not occur, the actual

imports will be far lower than the projected imports. The damage to the U.S. corn market and

the prices U.S. corn farmers receive for their corn likely will be long lasting. See Paragraph 293

below.

           296.   To make up for reduced imports from the U.S., China has increased imports from

the Ukraine and there are reportedly small shipments from Brazil and Argentina. In other words,

the U.S. is already beginning to lose China as an important corn export market. If the import ban

continues, it will be increasingly difficult to get it back.

GMOs in China

           297.   China imports more biotech soybeans than any other country. This marketing year

China is expected to import 72 mmt of soybeans. The vast majority of China’s soybean imports

are biotech varieties, even though biotech soybeans (and corn) are not commercially grown in

China. China imports soybeans primarily from the United States, Brazil and Argentina.

           298.   China has approved five-biotech crops for importation – canola, cotton, corn,

soybeans, and sugar beets. Approximately 15 different corn biotech products have been approved

by China, including “events” developed by Monsanto, Syngenta, Bayer, and Du Pont. The

number of approved soybean products is approximately 8 and there are 6 cotton and 7 canola

products. Only 1 sugar beet product has been approved.




509985.1                                           77
     Case 2:17-cv-02022-JWL-JPO Document 1-1 Filed 12/20/16 Page 82 of 103




           299.    China started testing and rejecting cargoes of U.S. corn in November 2013 and

subsequently began rejecting U.S. distiller’s dried grains with solubles (DDGS)–a corn ethanol

by-product–imports in June or July 2014.

           300.    By mid-December 2013, China had rejected shipments of U.S. corn totaling

545,000           metric   tons.     See     http://www.reuters.com/article/2013/12/20/china-corn-

idUSL3N0JZ0EZ20131220. China also rejected 2,000 metric tons of U.S. distiller’s dried grains

with solubles (DDGS), a corn ethanol by-product, imports in December 2013, and continued

rejecting DDGS through 2014. See http://ngfa.org/wp-content/uploads/Agrisure-Viptera-MIR-

162-Case-Study-An-Economic-Impact-Analysis.pdf.

           301.    Beginning in July 2014, China’s General Administration of Quality Supervision,

Inspection and Quarantine announced that it would require official government certification from

the point of origin that shipments DDGS are free of MIR162. DDGS are used in livestock feed

rations primarily as an energy source. China’s rejection of U.S. DDGS due to the presence of

MIR162 has important – and negative – implications on the price of U.S. corn.

DDGS Trade

           302.    U.S. DDGS exports to China totaled 2.16 mmt in calendar year 2012 and 4.45

mmt in calendar year 2013. DDGS trade has been hit hard recently, but the extent of the impact

on corn prices may not show up in the trade data yet.




509985.1                                         78
     Case 2:17-cv-02022-JWL-JPO Document 1-1 Filed 12/20/16 Page 83 of 103




           U.S. Exports of Corn and DDGS to China: 2009-2013 (calendar years)




           303.   China was by far the largest market for U.S. DDGS exports, accounting for

approximately 50% of all exports. The U.S. exports over 20% of annual DDGS production.

http://www.extension.iastate.edu/agdm/crops/outlook/dgsbalancesheet.pdf.

           304.   The loss of the large Chinese market for DDGS displaces corn in the U.S.

domestic market, pushing corn prices down further.

           305.   DDGS are an important source of revenue for US ethanol plants. Lower DDGS

prices due to the loss of the Chinese market have negatively affected ethanol crush margins. The

corn crush spread is a dollar value quoted as the difference between the combined sales values of

the products (ethanol and DDGS) and the cost of corn. China’s ban has lowered DDGS prices

and therefore lowered the DDGS value per bushel of corn processed by the ethanol producers.

This may be partially offset by a lower price of corn due to the ban. However, USDA (USDA,

AMS, Bioenergy Market News Reports) figures on ethanol crush margins indicate the difference

between corn price and value of co-products was $3.67 per bushel on May 2, 2014 and then fell

to $2.28 per bushel on September 26, 2014. The value of DDGS per bushel of corn processed



509985.1                                       79
     Case 2:17-cv-02022-JWL-JPO Document 1-1 Filed 12/20/16 Page 84 of 103




into ethanol was $2.08 on May 2nd this year, compared to only $1.02 on September 26, 2014.

About 4.7 billion bushels of corn are used for ethanol annually, so the financial loss to the

ethanol industry from the MIR162 ban is significant.

           306.   The impact of the loss of the Chinese market for corn and corn products to U.S.

corn farmers likely will be long lasting. The MIR162 incident has similarities to other

international GM contamination incidents, which have had long-lasting market effects. For

instance, 8 years after the 2006 Bayer Crop Science’s Liberty Link contamination of the U.S.

long-grain rice supply, exports to Europe have yet to recover. Prior to the 2006 marketing year

the EU-27 procured approximately 25% of its rice imports from the United States. Immediately

after the contamination event, the EU blocked imports of any new commercial U.S. long-grain

rice imports. In fact U.S. long grain rice farmers lost one of their most important markets and

they have yet to get it back despite considerable effort and expense. Recently, an official

delegation from the U.S. rice industry visited countries in the EU (such as Germany and the

United Kingdom) where they held discussions focused on the re-introduction of U.S. rice into

this important market. After this visit, the USA Rice Federation reported that market re-entry

faces significant hurdles:

                  “The U.S. has a superior product and the industry has successfully
                  addressed environmental and social concerns of this market, but
                  it’s clear we have more work to do before our German customers
                  return to us,” said Keith Glover, president and CEO of Producers
                  Rice Mill and chairman of USA Rice’s World Market Price
                  committee.” USA Rice Federation, USA Rice Daily, Tuesday
                  October 14, 2014.

           307.   In commodity markets like corn, a relatively small change in trade volume can

have a significant impact on price. One of the prime examples of the operation of this basic law

of economics occurred in 1973 when Middle Eastern Arab oil producers (Iran and Arab members




509985.1                                         80
     Case 2:17-cv-02022-JWL-JPO Document 1-1 Filed 12/20/16 Page 85 of 103




of OPEC) cut off exports to the U.S. to protest American military support for Israel. Even though

imports from this region accounted for only about 10% of the U.S. oil supply, petroleum prices

quadrupled in response to the export embargo and there were long lines for gasoline at filling

stations.

           308.   Another more recent example of inelastic demand at work is evident from the

world coffee market. Brazil produces about 35% of the world’s coffee and is unfortunately in the

middle of a drought that is affecting both the 2014 and 2015 coffee harvests in that country. In

2014 the Brazilian coffee harvest was down about 13% and this doubled the price of coffee.

World coffee production is about 150 million bags per year and as the following quote from the

Financial Times indicates, a 10 million bag swing in Brazil’s production over a two year period

(about a 3.5% change in production) can mean the difference in coffee prices ranging between $3

and $1.50 per pound.

                  “Brazil is the largest coffee producer in the world, accounting for
                  about 35 per cent of all output. Industry consensus around the 2014
                  Brazilian harvest seems to have settled at about 48m 60kg bags,
                  down from the previous year’s 54-55m, but the 2015 forecasts
                  have ranged widely between 40m and 53m bags. Estimates for the
                  cumulative Brazil supply 2014 and 2015 combined, range from
                  92m to 102m bags, which is the difference between $3.00 and
                  $1.50 per pound of coffee.” Financial Times, Wednesday, Sep 17,
                  2014.

           309.   Based on the same economic logic, the Wall Street Journal reasoned that the loss

of the Chinese corn market to the U.S. industry over MIR162 will have an important impact on

the U.S. corn price even though that market represented only about 12% of U.S. exports.

                  “Exports account for only about 12% of the U.S. corn crop, but
                  China's rapid growth gives the country an outsize influence over
                  prices.” Wall Street Journal, April 11, 2014, U.S. Corn Exports to
                  China Dry Up Over GMO Concerns.




509985.1                                          81
     Case 2:17-cv-02022-JWL-JPO Document 1-1 Filed 12/20/16 Page 86 of 103




           310.   In the U.S. corn market, both domestic demand and supply curves are relatively

inelastic, especially in the short run. Elasticity measures the degree of responsiveness in supply

or demand to price changes. If both the supply and demand curves are inelastic, then for each

curve it will take a relatively large change in price to effect a change in quantity demanded or

supplied. This is shown in the left panel of the diagram below where the U.S. domestic demand

for corn is represented as schedule USD and the domestic supply is labeled as USS. Both of these

curves are inelastic as drawn. The horizontal difference between the supply (USS) and demand

(USD) at world price (PUS) is the amount of corn exported.

           311.   The right hand panel of the diagram shows the market for U.S. corn exports. The

U.S. export supply curve shown to the world market is labeled as USES. This curve is based on

the U.S. domestic supply and demand curves in the left hand panel. For any price above the point

where USD and USS intersect in the left hand panel there is excess domestic corn that is supplied

to the world market according to the schedule USES in the right hand panel. The world demand

for U.S. corn is shown by the curve ROWED in the right hand panel. This includes demand from

China. Following the MIR162 ban the ROWED curve shifts left as shown by the arrows in the

right hand panel. An inward shift of the global demand for U.S. corn reduces exports from the

U.S. The intersection of the shrunken ROWED curve and USS determines the volume of trade

after the MIR162 ban. U.S. corn exports are reduced by a fixed volume due to a foreign market

closing, and the U.S. price falls to P’US. The drop in price is relatively large even if the shrinkage

in exports is a small share of production, because the price must fall to clear a market in which

both supply and demand are inelastic.




509985.1                                         82
     Case 2:17-cv-02022-JWL-JPO Document 1-1 Filed 12/20/16 Page 87 of 103




           312.   Under the bedrock economic law of supply and demand, for an exportable good,

when there is less foreign demand for a product, particularly one with a relatively inelastic

demand and supply curves, the price is lower than it otherwise would be.

           313.   As a result, all U.S. corn farmers who priced their corn after November 2013 have

received a lower price for their corn than they would have received if China’s imports of U.S.

corn had not effectively stopped.

                                 CLASS ACTION ALLEGATIONS

           314.   Plaintiff brings this action pursuant to Wis. Stat. § 803.08(1) on behalf of Plaintiff

and a number of classes (each a “Class,” and collectively, “the Classes”), consisting of all

persons and entities in Wisconsin (defined below) and, collectively, in a Nationwide Corn

Producers Class (defined below), who, during the relevant time period, were corn producers2 that

priced their corn for sale after November 18, 2013.


2
  “Producer” is defined as an owner, operator, landlord, waterlord, tenant, or sharecropper, who
shares in the risk of producing corn and who is entitled to share in the corn crop available for
marketing from the farm, as reflected in FSA Form 578. A landlord who receives only a fixed



509985.1                                           83
     Case 2:17-cv-02022-JWL-JPO Document 1-1 Filed 12/20/16 Page 88 of 103




           315.   The “Nationwide Corn Producers Class” consists of all corn producers in the

United States that grew and harvested corn and then sold the corn on a commercial basis (or who

received revenue from such corn under a crop-share agreement) after November 18, 2013.

Excluded from the Nationwide Corn Producers Class are the Court and its officers, employees,

and relatives; Defendants and their subsidiaries, officers, directors, employees, contractors, and

agents; and governmental entities. Plaintiff reserves the right to amend the class definition prior

to class certification.

           316.   Plaintiff, in the manner(s) described in Counts I-II below, asserts claims on behalf

of itself and the Nationwide Corn Producer Class as well as the Wisconsin State Corn Producers

Class, for Defendants’ violations of the Lanham Act and the Minnesota consumer protection and

trade practices acts.

           317.   In addition or alternatively, Plaintiff, in the manner(s) described in Counts III-V

below asserts claims against all Defendants, individually and on behalf of the Wisconsin State

Corn Producers Class for Defendants’ violations of Wisconsin state law.

           318.   The “Wisconsin State Corn Producers Class” consists of all residents of

Wisconsin that grew and harvested corn and then sold the corn on a commercial basis (or who

received revenue from such corn under a crop-share agreement) after November 18, 2013.

Excluded from the Wisconsin State Corn Producers Class are the Court and its officers,

employees, and relatives; Defendants and their subsidiaries, officers, directors, employees,

contractors, and agents; and governmental entities. Plaintiff reserves the right to amend the class

definition prior to class certification.



cash amount for renting the land that does not vary with the size of, or pricing for, the crop is not
a Producer.



509985.1                                           84
     Case 2:17-cv-02022-JWL-JPO Document 1-1 Filed 12/20/16 Page 89 of 103




           319.   The requirements of Wis. Stat. § 803.08(1) are satisfied for each of the foregoing

Classes because the members of each Class are so numerous and geographically dispersed that

joinder of all its members is inapplicable or impracticable. With regard to the Nationwide Corn

Producers Class, over 83 million acres of corn were planted and harvested for grain in the United

States in 2014. The number of acres of corn planted and harvested for grain in 2014 in

Wisconsin is approximately 3,110,000 acres. Although the exact number and identity of each

Class member is not known, there are hundreds, if not thousands, of members in the Nationwide

and Wisconsin State Corn Producers Class. The “numerosity” requirement of Wis. Stat. §

803.08(1) is, therefore, satisfied.

           320.   The “commonality” requirement of Wis. Stat. § 803.08(1) is satisfied because

there are questions of law and fact common to Plaintiff and the other members of each of the

Classes. Therefore, Plaintiff has rights and interests in common with the other Class Members.

Among those common questions of law and fact are:

                  a.     whether the members of the Nationwide and Wisconsin State Corn
                         Producers Class have sustained or continue to sustain damages in their
                         business or property by reason of Defendants’ violation of the Lanham
                         Act and Minnesota law, and, if so, the proper measure and appropriate
                         formula to be applied in determining such damages;

                  b.     whether Defendants, through their acts or omissions, caused or contributed
                         to cause the loss of export markets for U.S. corn, including China;

                  c.     whether Defendants knew or should have known that their acts or
                         omissions would cause or contribute to cause the loss of export markets,
                         including China;

                  d.     whether the loss of export markets for U.S. corn, including China, resulted
                         in a reduction in the price producers received for U.S. corn;

                  e.     whether Defendants are legally responsible for the loss of export markets
                         and reduction in the price producers received for U.S. corn under one or
                         more of the legal theories asserted in this complaint;




509985.1                                          85
     Case 2:17-cv-02022-JWL-JPO Document 1-1 Filed 12/20/16 Page 90 of 103




                  f.     whether the members of the Nationwide Corn Producers Class and/or
                         the Wisconsin State Corn Producer Class have sustained and continue to
                         sustain damage as a result of Defendants’ wrongful conduct, and, if so, the
                         proper measure and appropriate formula to be applied in determining such
                         damages for the Nationwide Corn Producers Class and/or the Wisconsin
                         State Corn Producer Class; and

                  g.     whether the members of the Classes are entitled to compensatory,
                         statutory, exemplary, and/or punitive damages.

           321.   Plaintiff’s claims are typical of the claims of all other members of each of the

respective Classes that they seek to represent, as described above, because they arise from the

same course of conduct by Defendants and are based on the same legal theories as do the claims

of all other members of each of the respective Classes. Moreover, Plaintiff seeks the same forms

of relief for themselves as they do on behalf of absent Class members. Accordingly, Plaintiff has

satisfied the “typicality” requirements of Wis. Stat. § 803.08(1) with respect to each of the

Classes Plaintiff seeks to represent.

           322.   Because Plaintiff’s claims are typical of the respective Classes that Plaintiff seeks

to represent, Plaintiff has every incentive to pursue those claims vigorously. Plaintiff has no

conflicts with, or interests antagonistic to, the corn producers comprising the other members of

the Classes Plaintiff seeks to represent relating to the claims set forth herein. Also, Plaintiff’s

commitment to the vigorous prosecution of this action is reflected in Plaintiff’s retention of

competent counsel experienced in litigation of this nature to represent Plaintiff and the other

members of each of the Classes. Plaintiff’s counsel will fairly and adequately represent the

interests of each of the proposed Classes, and: (a) have identified and thoroughly investigated the

claims set forth herein; (b) are highly experienced in the management and litigation of class

actions and complex litigation; (c) have extensive knowledge of the applicable law; and (d)

possess the resources to commit to the vigorous prosecution of this action on behalf of the

proposed Classes. Therefore, Plaintiff will fairly represent the Class Members’ rights and


509985.1                                           86
     Case 2:17-cv-02022-JWL-JPO Document 1-1 Filed 12/20/16 Page 91 of 103




interests so the issues herein may be fairly and accurately tried. Accordingly, Plaintiff satisfies

the adequacy of representation requirements of Wis. Stat. § 803.08(1) with respect to each of the

proposed Classes.

           323.   In addition, this action raises questions about, among other things, Syngenta’s

duty of care with respect to its commercialization of genetically modified traits, which

necessarily require class wide adjudication to prevent the risk of inconsistent rulings and

incompatible standards of conduct for Defendants. Moreover, absent a representative class

action, many members of the proposed Classes would continue to suffer the harms described

herein, for which they would have no remedy. Even if separate actions could be brought by

individual corn producers, the resulting multiplicity of lawsuits would cause undue hardship and

expense for both the Court and the litigants, as well as create a risk of inconsistent rulings and

adjudications that might be dispositive of the interests of similarly situated corn producers,

substantially impeding their ability to protect their interests, while establishing incompatible

standards of conduct for Defendants.

           324.   Common questions of law and fact, including those enumerated above, exist as to

the claims of all members of each of the respective Classes and predominate over questions

affecting only individual Class members of each such Class, and a class action is the superior

method for the fair and efficient adjudication of this controversy. Class treatment will permit

large numbers of similarly-situated persons to prosecute their respective class claims in a single

forum simultaneously, efficiently, and without the unnecessary duplication of evidence, effort,

and expense that numerous individual actions would produce. Furthermore, while damages to

members of each of the proposed Classes are substantial in the aggregate, the damages to any




509985.1                                         87
     Case 2:17-cv-02022-JWL-JPO Document 1-1 Filed 12/20/16 Page 92 of 103




individual member of the proposed Classes may be insufficient to justify individually controlling

the prosecution of separate actions against Defendants.

           325.   This case is manageable as a class action, and a class trial will be manageable.

Notice may be provided to members of the respective Classes by first-class mail and through

alternative means of publication and the Internet. Moreover, the Nationwide Corn Producers

Class members’ claims will be decided under federal substantive law and the substantive law of

only one state (Minnesota), and the Wisconsin State Corn Producers Class’ claims will likewise

each be decided under the substantive law of only Wisconsin. Thus, the Court will not have to

grapple with the application of multiple jurisdictions’ law to the members of any single Class.

           326.   To the extent not all issues or claims, including damages, can be resolved on a

class-wide basis, Plaintiff reserves the right to seek certification of narrower and/or re-defined

Classes and/or to seek certification of a liability class or certification of certain issues common to

the class.

                                         CLAIMS FOR RELIEF

                                        Count I - Lanham Act
                       (On Behalf of the Nationwide Corn Producers Class and
                              Wisconsin State Corn Producer Class)

           327.   The Nationwide Corn Producers Class and Wisconsin State Corn Producer Class

incorporates by reference Paragraphs 1-313 as though fully alleged herein.

           328.   The Lanham Act, 15 U.S.C. § 1125(a), entitled “False designation of origin, false

descriptions, and dilution forbidden,” provides in pertinent part:

                  a.      Civil action

                  (1)      Any person who, on or in connection with any goods or services, or any
                  container for goods, uses in commerce any word, term, name, symbol, or device,
                  or any combination thereof, or any false designation of origin, false or misleading
                  description of fact, or false or misleading representation of fact, which—



509985.1                                          88
     Case 2:17-cv-02022-JWL-JPO Document 1-1 Filed 12/20/16 Page 93 of 103




                         (A)     is likely to cause confusion, or to cause mistake, or to deceive as to
                         the affiliation, connection, or association of such person with another
                         person, or as to the origin, sponsorship, or approval of his or her goods,
                         services, or commercial activities by another person, or

                         (B)    in commercial advertising or promotion, misrepresents the nature,
                         characteristics, qualities, or geographic origin of his or her or another
                         person’s goods, services, or commercial activities,

                  shall be liable in a civil action by any person who believes that he or she is or is
                  likely to be damaged by such act.

           329.   Syngenta used and/or continues to use in commerce false or misleading

descriptions of fact, and/or false or misleading representations of fact, which misrepresented, and

were likely to cause and/or did cause confusion and mistake or to deceive, regarding MIR162,

the timing of its approval by China, its impact on export markets for U.S. corn, including China,

the ability to channel MIR162 away from export markets which have not approved MIR162, and

corn prices.

           330.   Syngenta’s representations, statements, and commentary have included:

                  a.     To APHIS and the public, including stakeholders interested in the MIR162
                         Deregulation Petition, that deregulation of MIR162 should not cause an
                         adverse impact upon export markets for U.S. corn, that Syngenta would
                         communicate the stewardship requirements “using a wide ranging grower
                         education program,” and that at the time the MIR162 Deregulation
                         Petition was submitted to APHIS, regulatory filings were in progress in
                         China;

                  b.     To APHIS and the public that MIR162 could and would be channeled
                         away from markets which had not yet approved MIR162;

                  c.     To the press and to investment analysts on quarterly conference calls;

                  d.     Through statements in marketing materials published on the Internet such
                         as its “Plant With Confidence” fact sheet; and

                  e.     Through other statements indicating that approval from China for MIR162
                         corn was expected at times when Syngenta knew it was not.




509985.1                                           89
     Case 2:17-cv-02022-JWL-JPO Document 1-1 Filed 12/20/16 Page 94 of 103




each as more fully alleged above, are materially false statements that misrepresented, and are,

and continue to be, likely to cause confusion and mistake as to the nature, characteristics, and

qualities of MIR162 corn, the timing of its approval by China, the impact of MIR162 corn on the

export markets, including China, for U.S. corn, the ability to channel MIR162 away from export

markets which have not approved MIR162, and corn prices.

           331.   Syngenta’s misleading representations of fact relating to the U.S. corn export

market, and particularly in relation to China’s position as a major export market, also

misrepresented to, and deceived and/or continue to deceive, farmers and other consumers.

Syngenta's “Plant With Confidence” fact sheet has, and misrepresented, and is likely to continue,

to cause confusion and mistake as to the percentage of U.S. corn exported to China on an annual

basis, among other facts.

           332.   Syngenta’s misleading representations of fact also include the statements in the

MIR162 Deregulation Petition as more fully set forth above, including in Paragraphs 67-70.

           333.   Additionally, Syngenta’s representations misrepresented, and deceived and/or

continue to deceive, farmers, other consumers and stakeholders as to the status of approval for

distribution of MIR162 corn in China, a major export market.

           334.   Syngenta’s MIR162 corn products were misrepresented, and caused, and/or were

likely to cause, customer confusion regarding the approval of the products from foreign

regulatory authorities, including the Chinese government.

           335.   Syngenta’s statements were made in commercial advertising or promotion for

MIR162 corn products, including Viptera® and Duracade™.

           336.   Syngenta had an economic motivation for making its statements, as Syngenta was

incentivized to sell its MIR162 corn products.




509985.1                                         90
     Case 2:17-cv-02022-JWL-JPO Document 1-1 Filed 12/20/16 Page 95 of 103




           337.   Syngenta’s statements were likely to influence purchasing decisions by domestic

corn producers.

           338.   Syngenta’s statements were widely distributed, which is, at least, sufficient to

constitute promotion within the grain industry.

           339.   Thus, Syngenta’s misleading representations and statements are and/or were

material.

           340.   Syngenta’s products travel or traveled in interstate commerce.

           341.   Plaintiff and the other Nationwide Corn Producer Class and Wisconsin State Corn

Producers Class members have and continue to be damaged by Syngenta’s material

misrepresentations. Plaintiff and the other Nationwide Corn Producer Class and Wisconsin State

Corn Producers Class members were injured and/or continue to suffer injury to, among other

things, their property and possessory rights in the corn they have grown, as well as the negative

market price impact explained above, which results in lower revenues and profits.               Those

economic injuries are likely to continue in the future.

           342.   Plaintiff and the other Class members’ damages were proximately caused by

Syngenta's misleading representations as described herein.

           343.   Syngenta’s representations, statements and commentary as more fully set forth

herein were made with knowledge or reckless disregard of their falsity and the resulting risk and

damage to Plaintiff, other corn producers and stakeholders.

           344.   Syngenta’s acts constitute the use of false descriptions and false representations in

interstate commerce in violation of § 43(a) of the Lanham Act and entitle Plaintiff, individually

and on behalf of the other Class members, to recover damages, the costs of this action, and,

because this case is exceptional, reasonable attorneys’ fees.




509985.1                                           91
     Case 2:17-cv-02022-JWL-JPO Document 1-1 Filed 12/20/16 Page 96 of 103




                   Count II - Violation of Minn. Stat. §§ 325D.13 and 325F.69
                  (On Behalf of the Nationwide State Corn Producers Class and
                             Wisconsin State Corn Producer Class)

           345.   Plaintiff incorporates by reference Paragraphs 1-313 as though fully alleged

herein.

           346.   Syngenta made false or misleading statements regarding MIR162 and its impact

on export markets for U.S. corn, including China, and corn prices.

           347.   Syngenta’s representations, statements and commentary have been largely

disseminated, and included:

                  a.     To APHIS and the public, including stakeholders interested in the MIR162
                         Deregulation Petition that deregulation of MIR162 should not cause an
                         adverse impact upon export markets for U.S. corn that Syngenta would
                         communicate the stewardship requirements “using a wide ranging grower
                         education program,” and that at the time the MIR162 Deregulation
                         Petition was submitted to APHIS, regulatory filings were in progress in
                         China.

                   b.    To APHIS and the public that MIR162 could and would be channeled
                         away from markets which had not yet approved MIR162.

                   c.    To the press and to investment analysts on quarterly conference calls.

                   d.    Through statements in marketing materials published on the Internet such
                         as its “Plant With Confidence” fact sheet.

                  e.     Through other statements indicating that approval from China for MIR162
                         corn was expected at times when Syngenta knew it was not.

           348.   In addition, Syngenta stated in 2007 that its regulatory filings with China were “in

process” when it did not actually file for approval from China until 2010.

           349.   Syngenta made numerous misrepresentations pertaining to the status of China’s

import approval for MIR162. Among others, and as more fully set forth above, Syngenta during

the summer of 2011, represented to stakeholders, including growers (to encourage further sales,

planting and harvesting of MIR162), that it would receive China’s approval in March 2012.



509985.1                                           92
     Case 2:17-cv-02022-JWL-JPO Document 1-1 Filed 12/20/16 Page 97 of 103




Syngenta continued making this misrepresentation throughout the planting and harvesting season

in 2011 and into 2012. On April 18, 2012, Syngenta’s Chief Executive Officer, Michael Mack,

stated that he expected China to approve Agrisure Viptera® “quite frankly within the matter of a

couple of days.” Based upon Syngenta’s knowledge of the Chinese regulatory process, and its

own status within that process for MIR162, Syngenta knew this representation was false and/or

made this representation recklessly and willfully without regard to its consequences.

           350.   In addition to these false and misleading statements, Syngenta failed to disclose,

and actively suppressed and concealed, that approval from China was not expected or reasonably

likely to occur for (at least) the 2011 or 2012 growing seasons and that purchase and planting of

Viptera® created a substantial risk of loss of the Chinese market.

           351.   Syngenta also has at all times made false and misleading statements regarding the

ability to channel MIR162 corn, as well as the state and effectiveness of its supposed stewardship

generally and in regard to MIR162.

           352.   Syngenta also failed to disclose, and actively suppressed and concealed, that there

was not (and would not be) an effective system in place for isolation or channeling of Agrisure

Viptera® or Duracade™.

           353.   As a developer of genetically modified products (including MIR162), Syngenta

has special knowledge of regulatory matters and facts pertaining to the content and status of its

application for foreign approvals to which corn farmers, including Plaintiff, do not have access.

           354.   Syngenta also has special knowledge regarding the systems it did and did not

institute for isolation and channeling of its genetically modified products, including Agrisure

Viptera® and Duracade™, which was not available to corn farmers, including Plaintiff.




509985.1                                          93
     Case 2:17-cv-02022-JWL-JPO Document 1-1 Filed 12/20/16 Page 98 of 103




           355.   Syngenta knew but failed to disclose, suppressed and concealed that systems were

not in place for either isolation or effective channeling of Agrisure Viptera® and Duracade™

and that absent robust isolation practices and effective channeling, it was virtually certain that

Agrisure Viptera® or Duracade™ would disseminate throughout the U.S. corn supply and into

export markets, including China, which had not approved import, causing market disruption.

           356.   Syngenta also knew but failed to disclose, suppressed and concealed, at minimum,

in 2010-2011 that it would not have import approval from China by the 2011 crop year and in

2011-2012 that it would not have import approval from China by the 2012 crop year, and failed

to disclose that China was a significant and growing import market. Syngenta further failed to

disclose at all relevant times the insufficiency of its approval request to China, and that it sought

approval cultivate MIR162 in China, both of which Syngenta knew would cause delay in China’s

approval process for MIR162. Syngenta also failed to disclose, and suppressed and concealed,

that there was not (and would not be) an effective system in place for isolation or channeling of

Agrisure Viptera® or Duracade™ and the very high likelihood that MIR162 would move into

export channels where it was not approved, causing market disruption.

           357.   Syngenta engaged in these deceptions in order to sell and increase its sales of

Viptera® and Duracade™, despite Syngenta’s further knowledge that the more acres grown with

them, the more likely it would be that Agrisure Viptera® and Duracade™ would disseminate

into the U.S. corn supply and farmers would be harmed.

           358.   Syngenta knew that farmers like Plaintiff here are affected by its business and

depend on it for responsible commercialization practices.

           359.   For all these reasons, Syngenta had a duty to disclose the truth – that import

approval from China (a key market) was not imminent or indeed anticipated for (at least) the




509985.1                                         94
     Case 2:17-cv-02022-JWL-JPO Document 1-1 Filed 12/20/16 Page 99 of 103




2011 and 2012 growing seasons, that there was not an effective system in place to channel

Agrisure Viptera® and Duracade™ away from China (or other foreign markets) from which

Syngenta did not have approval, and that purchase and planting of Viptera® (and later

Duracade™) created a substantial risk of loss of the Chinese market and/or prolonging the loss of

that market.

           360.   In addition, Syngenta made numerous misrepresentations to the effect that

approval from China was on track and/or would be received during time periods when Syngenta

knew it would not, and that Agrisure Viptera® and Duracade™ could, and would, be channeled

away from markets for which approval had not been obtained. Syngenta had a duty to prevent

words communicated from misleading others.

           361.   Syngenta’s misrepresentations and omissions were made intentionally or

recklessly.

           362.   Syngenta, in connection with the sale of merchandise – Viptera® and Duracade™

-- knowingly misrepresented, directly or indirectly, the true quality of that merchandise in

violation of Minn. Stat. § 325D.13.

           363.   Syngenta   used   or   employed    fraud,   false   pretense,   false   promise,

misrepresentation, misleading statements or deceptive practices, with the intent that others rely

thereon in connection with the sale of Agrisure Viptera® and Duracade™, in violation of Minn.

Stat. § 325F.69.

           364.   Syngenta’s violations of Sections 325D.13 and 325F.69 proximately caused harm

to Plaintiff and other members of the Nationwide and the Wisconsin State Corn Producers Class.

           365.   This action will serve a public benefit. Not only were Syngenta’s

misrepresentations made to a large segment of the public, Syngenta’s conduct vitally affects a




509985.1                                        95
    Case 2:17-cv-02022-JWL-JPO Document 1-1 Filed 12/20/16 Page 100 of 103




large segment of the public as well – all farmers and others in the business of selling corn and

corn products – who depend on the responsible stewardship practices of developers like

Syngenta when commercializing GM products.               The issues surrounding what duties and

liabilities such developers have for irresponsible and intentional acts is not limited to corn but

impact all developers and stakeholders in similar position.

           366.   Plaintiff and the other members of the Nationwide and Wisconsin State Corn

Producers Class are entitled to compensatory damages and attorneys’ fees (see Minn. Stat. §

8.31, subd. 3a).

                                        Count III - Negligence
                       (On Behalf of the Wisconsin State Corn Producers Class)

           367.   Plaintiff incorporates by reference Paragraphs 1-313 as though fully alleged

herein.

           368.   Syngenta owed a duty of at least reasonable care to its stakeholders, including

Plaintiff and members of the Wisconsin State Corn Producers Class in the timing, scope, and

terms under which it commercialized MIR162.

           369.   Syngenta breached its duty by acts and omissions including but not limited to:

                  a.      Prematurely commercializing Agrisure Viptera® and Duracade™ on a
                          widespread basis without reasonable or adequate safeguards;

                  b.      Instituting a careless and ineffective “stewardship” program;

                  c.      Failing to enforce or effectively monitor its stewardship program;

                  d.      Selling Agrisure Viptera® and/or Duracade™ to thousands of
                          corn farmers with knowledge that they lacked the mechanisms,
                          experience, ability and /or competence to effectively isolate or “channel”
                          those products;

                  e.      Failing to adequately warn and instruct farmers on the dangers of
                          contamination by MIR162 and at least the substantial risks that
                          growing Viptera would lead to loss of the Chinese market;



509985.1                                           96
    Case 2:17-cv-02022-JWL-JPO Document 1-1 Filed 12/20/16 Page 101 of 103




                  f.      Distributing misleading information about the importance of the Chinese
                          market; and

                  g.      Distributing misleading information regarding the timing of China’s
                          approval of Agrisure Viptera® and/or Duracade™.

           370.   Syngenta’s negligence proximately caused damages to Plaintiff and other

members of the Wisconsin State Corn Producers Class.

           371.   Plaintiff and other members of the Wisconsin State Corn Producers Class are thus

entitled to an award of compensatory damages and prejudgment and post-judgment interest.

           372.   Syngenta acted with an intentional disregard for the rights of Plaintiff and other

members of the Wisconsin State Corn Producers Class.              Punitive damages are therefore

warranted.

                                   Count IV - Trespass to Chattels
                       (On Behalf of the Wisconsin State Corn Producers Class)

           373.   Plaintiff incorporates by reference Paragraphs 1-313 as though fully alleged

herein.

           374.   By commercializing Agrisure Viptera® and/or Duracade™ prematurely and

without adequate systems to isolate and channel it, Syngenta intentionally intermeddled with and

brought Agrisure Viptera® and/or Duracade™ into contact with non-Agrisure Viptera/Duracade

corn in which Plaintiff and other members of the Wisconsin State Corn Producers Class had

possession and/or possessory rights.

           375.   Syngenta knew that its conduct would, to a substantial certainty, bring Agrisure

Viptera® and/or Duracade™ into contact with Plaintiff’s and other members of the Wisconsin

State Corn Producers Class’ corn through contamination in fields and/or in grain elevators and

other modes of storage and transport.




509985.1                                          97
    Case 2:17-cv-02022-JWL-JPO Document 1-1 Filed 12/20/16 Page 102 of 103




           376.   As a result of the trespass, Plaintiff’s and other members of the Wisconsin State

Corn Producers Class’ chattels were impaired as to condition, quality or value, and Plaintiff and

other members of the Wisconsin State Corn Producers Class were damaged.

           377.   Plaintiff and the other members of the Wisconsin State Corn Producers Class are

thus entitled to an award of compensatory damages, prejudgment and post-judgment interest.

           378.   Syngenta acted with an intentional disregard to the rights of Plaintiff and other

members of the Wisconsin State Corn Producers Class.              Punitive damages are therefore

warranted.

                                    Count V - Private Nuisance
                     (On Behalf of the Wisconsin State Corn Producers Class)

           379.   Plaintiff incorporates by reference Paragraphs 1-313 as though fully alleged

herein.

           380.   Syngenta’s actions constitute a private nuisance to Plaintiff and other members of

the Wisconsin State Corn Producers Class. By contaminating the U.S. corn supply, Syngenta has

unreasonably and substantially interfered with the quiet use and enjoyment of Plaintiff’s and

other Wisconsin State Corn Producer Class members’ land and/or property interests.

           381.   Syngenta’s conduct was intentional and unreasonable, or if unintentional, was

negligent and reckless, and proximately caused damage to Plaintiff and other members of the

Wisconsin State Corn Producers Class.

           382.   Plaintiff and other members of the Wisconsin State Corn Producers Class are thus

entitled to an award of compensatory damages and prejudgment and post-judgment interest.

           383.   Syngenta acted with an intentional disregard for the rights of Plaintiff and other

members of the Wisconsin State Corn Producers Class, and thus, punitive damages are

warranted.



509985.1                                          98
    Case 2:17-cv-02022-JWL-JPO Document 1-1 Filed 12/20/16 Page 103 of 103




                                     DEMAND FOR JUDGMENT

           Plaintiff, on behalf of himself and the respective Classes, demands judgment from

Defendants for:

                  (a)     All monetary and compensatory relief to which they are entitled and will

                          be entitled at the time of trial;

                  (b)     Punitive damages;

                  (c)     Attorneys’ fees;

                  (d)     Prejudgment interest and post-judgment interest at the maximum rates

                          allowed by law;

                  (e)     The costs of this action; and

                  (f)     Such other and further relief as is appropriate.

                                    DEMAND FOR JURY TRIAL

           Plaintiff demands a trial by jury.


Dated: November 17, 2016                         Respectfully submitted,

                                                 LOCKRIDGE GRINDAL NAUEN P.L.L.P.

                                                 Electronically signed by Charles N. Nauen
                                                 Charles N. Nauen, #1031943
                                                 Robert K. Shelquist
                                                 100 Washington Avenue South, Suite 2200
                                                 Minneapolis MN 55401
                                                 Phone: 612-339-6900
                                                 Fax:    612-339-0981

                                                 Counsel for Plaintiff




509985.1                                             99
